USCA Case #24-1113       Document #2066896          Filed: 07/26/2024   Page 1 of 115


           ORAL ARGUMENT SCHEDULED FOR SEPTEMBER 16, 2024

                             Nos. 24-1113, 24-1130, 24-1183


                  IN THE UNITED STATES COURT OF APPEALS
                  FOR THE DISTRICT OF COLUMBIA CIRCUIT

                         TIKTOK INC. and BYTEDANCE LTD.,

                                                Petitioners,
                                      v.
   MERRICK B. GARLAND, in his official capacity as Attorney General of the United
                                  States,

                                                Respondent.
  consolidated with
                                             caption continued on inside cover


       On Petitions for Review of the Protecting Americans from Foreign Adversary
                              Controlled Applications Act


                  PUBLIC REDACTED BRIEF FOR RESPONDENT


 TRICIA WELLMAN                             BRIAN M. BOYNTON
   Acting General Counsel                     Principal Deputy Assistant Attorney
 JAMES R. POWERS                                General
   Chief, Litigation                        BRIAN D. NETTER
 JENNIFER M. PIKE                             Deputy Assistant Attorney General
   Associate General Counsel                MARK R. FREEMAN
   Office of the Director of National       SHARON SWINGLE
     Intelligence                           DANIEL TENNY
                                            CASEN B. ROSS
 DIANE KELLEHER                             SEAN R. JANDA
 BONNIE E. DEVANY                           BRIAN J. SPRINGER
 SIMON G. JEROME                              Attorneys, Appellate Staff
   Attorneys, Federal Programs Branch         Civil Division, Room 7260
   Civil Division                             U.S. Department of Justice
   U.S. Department of Justice                 950 Pennsylvania Avenue NW
                                              Washington, DC 20530
   (additional counsel on inside cover)       (202) 514-3388
USCA Case #24-1113      Document #2066896          Filed: 07/26/2024      Page 2 of 115



     BRIAN FIREBAUGH, CHLOE JOY SEXTON, TALIA CADET, TIMOTHY
    MARTIN, KIERA SPANN, PAUL TRAN, CHRISTOPHER TOWNSEND, and
                           STEVEN KING,

                                               Petitioners,
                                      v.
   MERRICK B. GARLAND, in his official capacity as Attorney General of the United
                                  States,

                                               Respondent.


                                  BASED Politics Inc.

                                               Petitioner,
                                      v.
   MERRICK B. GARLAND, in his official capacity as Attorney General of the United
                                  States,

                                               Respondent.


 MATTHEW G. OLSEN                           BRADLEY BOOKER
  Assistant Attorney General for National    General Counsel
     Security                               KELLY SMITH
 DEVIN A. DEBACKER                            Section Chief
   Chief, Foreign Investment Review         NADIN LINTHORST
      Section                                Assistant General Counsel
 ERIC S. JOHNSON                            TUCKER MCNULTY
   Principal Deputy Chief, Foreign            Assistant General Counsel
      Investment Review Section
                                            ANN OAKES
 TYLER J. WOOD                               Assistant General Counsel
   Deputy Chief, Foreign Investment          Federal Bureau of Investigation
     Review Section
 EVAN SILLS
   Attorney-Advisor, Foreign Investment
      Review Section
  National Security Division
  U.S. Department of Justice
USCA Case #24-1113      Document #2066896          Filed: 07/26/2024    Page 3 of 115



    CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      Pursuant to D.C. Circuit Rule 28(a)(1), the undersigned counsel certifies as

follows:

      A.     Parties and Amici

      Petitioners in these three consolidated cases are TikTok Inc. and ByteDance,

Ltd. (No. 24-1113); Brian Firebaugh, Chloe Joy Sexton, Talia Cadet, Timothy

Martin, Kiera Spann, Paul Tran, Christopher Townsend, and Steven King (No. 24-

1130); and BASED Politics Inc. (No. 24-1183). Merrick B. Garland, in his official

capacity as Attorney General of the United States, is the respondent in these cases.

      As of this filing, amici properly before the Court are Electronic Frontier

Foundation, Freedom of the Press Foundation, TechFreedom, Media Law

Resource Center, Center for Democracy and Technology, First Amendment

Coalition, Freedom to Read Foundation, Cato Institute, Matthew Steilen, Arizona

Asian American Native Hawaiian and Pacific Islander for Equity Coalition, Asian

American Federation, Asian Americans Advancing Justice Southern California,

Calos Coalition, Hispanic Heritage Foundation, Muslim Public Affairs Council,

Native Realities, OCA-Asian Pacific American Advocates of Greater Seattle,

OCA-Asian Pacific American Advocates: San Francisco, OCA-Greater

Philadelphia, Sadhana, Sikh Coalition, South Asian Legal Defense Fund, Knight

First Amendment Institute at Columbia University, Free Press, Pen American
USCA Case #24-1113     Document #2066896            Filed: 07/26/2024   Page 4 of 115



Center, Milton Mueller, Timothy H. Edgar, Susan A. Aaronson, Hans Klein,

Hungry Panda US, Inc., Shubhangi Agarwalla, Enrique Armijo, Derek Bambauer,

Jane Bambauer, Elettra Bietti, Ashutosh Bhagwat, Stuart N. Brotman, Anupam

Chander, Erwin Chemerinsky, James Grimmelmann, Nikolas Guggenberger, G. S.

Hans, Robert A. Heverly, Michael Karanicolas, Kate Klonick, Mark Lemley,

David S. Levine, Yvette Joy Liebesman, Dylan K. Moses, Sean O’Brien, and

Christopher J. Sprigman.

      B.    Rulings Under Review

      These petitions seek review of the Protecting Americans from Foreign

Adversary Controlled Applications Act, Pub. L. No. 118-50, div. H, 138 Stat. 955

(2024). There are no prior rulings under review.

      C.    Related Cases

      These cases were not previously before this Court or any other court.

Counsel for respondent is not aware of any other case currently pending before this

or any other court within the meaning of D.C. Cir. R. 28(a)(1)(C).

                                                   /s/ Sean R. Janda
                                               Sean R. Janda




                                          ii
USCA Case #24-1113                Document #2066896                      Filed: 07/26/2024             Page 5 of 115



                                          TABLE OF CONTENTS

                                                                                                                  Page
                                                                                                                  ----
TABLE OF AUTHORITIES

GLOSSARY

INTRODUCTION .................................................................................................... 1

STATEMENT OF JURISDICTION......................................................................... 5

STATEMENT OF THE ISSUES.............................................................................. 6

PERTINENT STATUTES AND REGULATIONS ................................................. 6

STATEMENT OF THE CASE ................................................................................. 6

SUMMARY OF ARGUMENT .............................................................................. 15

ARGUMENT .......................................................................................................... 18

I.       Congress’s Divestment Requirement Reasonably Addresses
         Significant National-Security Threats Occasioned by TikTok’s
         Continued Operation Under Chinese Ownership ......................................... 18

         A.       ByteDance’s Ownership of TikTok Raises Distinct National-
                  Security Risks ......................................................................................20

                  1.       China Seeks to Overtake the United States and Co-Opts
                           Commercial Enterprises to Advance That Geopolitical
                           Objective ...................................................................................20

                  2.       TikTok Is a Uniquely Helpful Asset to China ..........................27

                  3.       China Would Have Incentive to Capitalize on TikTok in
                           Moments of Extreme Importance .............................................44

         B.       Congress Reasonably Determined That the Threat Could Not
                  Be Ameliorated by Narrower Proposals .............................................49




                                                            iii
USCA Case #24-1113                 Document #2066896                        Filed: 07/26/2024             Page 6 of 115



                  1.        The Proposed National Security Agreement Was
                            Inadequate .................................................................................50

                  2.        Petitioners’ Alternative Proposals Would Not Adequately
                            Address the National-Security Risks ........................................57

II.      The Act Satisfies Any Plausibly Relevant First Amendment Standard ....... 59

         A.       The Act Addresses National-Security Concerns and Does Not
                  Target Protected Expression................................................................59

         B.       Petitioners’ Arguments for Heightened Scrutiny Fail.........................65

III.     The TikTok Petitioners’ Fallback Constitutional Arguments Are
         Meritless........................................................................................................ 80

         A.       The Act Is Not a Bill of Attainder .......................................................80

         B.       The Act Does Not Effect a Taking ......................................................83

IV.      Petitioners Are Not Entitled to an Injunction ............................................... 86

CONCLUSION ....................................................................................................... 88

CERTIFICATE OF COMPLIANCE

CERTIFICATE OF SERVICE

ADDENDUM




                                                              iv
USCA Case #24-1113               Document #2066896                    Filed: 07/26/2024           Page 7 of 115



                                    TABLE OF AUTHORITIES
Cases:                                                                                                   Page(s)
ACLU v. Clapper,
  785 F.3d 787 (2d Cir. 2015) ............................................................................... 54
Agency for Int’l Dev. v. Alliance for Open Soc’y Int’l, Inc.,
  591 U.S. 430 (2020) ......................................................................................59, 78
Ambach v. Norwick,
 441 U.S. 68 (1979) ............................................................................................. 36
Americans for Prosperity Found. v. Bonta,
 594 U.S. 595 (2021) ........................................................................................... 77
Arcara v. Cloud Books, Inc.,
  478 U.S. 697 (1986) ........................................................................................... 62
Association of Am. R.Rs. v. U.S. Dep’t of Transp.,
  896 F.3d 539 (D.C. Cir. 2018) ........................................................................... 87
Barr v. American Ass’n of Political Consultants, Inc.,
  591 U.S. 610 (2020) ........................................................................................... 69
Bernal v. Fainter,
  467 U.S. 216 (1984) ........................................................................................... 36
Bluman v. FEC,
  800 F. Supp. 2d 281 (D.D.C. 2011), aff’d, 565 U.S. 1104 (2012) .................... 36
Cabell v. Chavez-Salido,
  454 U.S. 432 (1982) ........................................................................................... 36
Cedar Point Nursery v. Hassid,
  594 U.S. 139 (2021) ........................................................................................... 84
Chaplaincy of Full Gospel Churches v. England,
  454 F.3d 290 (D.C. Cir. 2006) ..................................................................... 86, 87
China Telecom (Ams.) Corp. v. FCC,
  57 F.4th 256 (D.C. Cir. 2022) ............................................................................ 66
Citizens United v. FEC,
  558 U.S. 310 (2010) ........................................................................................... 72



                                                          v
USCA Case #24-1113               Document #2066896                     Filed: 07/26/2024            Page 8 of 115



City of Ladue v. Gilleo,
  512 U.S. 43 (1994) ............................................................................................. 64
Clark v. Martinez,
  543 U.S. 371 (2005) ........................................................................................... 69
Community-Service Broad. of Mid-America, Inc. v. FEC,
  593 F.2d 1102 (D.C. Cir. 1978) ......................................................................... 75
eBay Inc. v. MercExchange, LLC,
  547 U.S. 388 (2006) ........................................................................................... 87
Foretich v. United States,
  351 F.3d 1198 (D.C. Cir. 2003) ................................................................... 81, 82
Heffron v. International Soc’y for Krishna Consciousness, Inc.,
  452 U.S. 640 (1981) ........................................................................................... 63
Hernández v. Mesa,
  589 U.S. 93 (2020) ............................................................................................... 4
Holder v. Humanitarian Law Project,
 561 U.S. 1 (2010) ................................................................................... 20, 66, 86
Independent Inst. v. FEC,
  216 F. Supp. 3d 176 (D.D.C. 2016), aff’d, 580 U.S. 1157 (2017) .................... 37
Jifry v. FAA,
   370 F.3d 1174 (D.C. Cir. 2004) ......................................................................... 77
Kaspersky Lab, Inc. v. U.S. Dep’t of Homeland Sec.,
  909 F.3d 446 (D.C. Cir. 2018) ................................................... 80, 80-81, 81, 82
Kimball Laundry Co. v. United States,
  338 U.S. 1 (1949) ............................................................................................... 85
Kovacs v. Cooper,
  336 U.S. 77 (1949) ............................................................................................. 64
Lamont v. Postmaster General,
  381 U.S. 301 (1965) ..................................................................................... 78, 79
Leaders of a Beautiful Struggle v. Baltimore Police Dep’t,
  2 F.4th 330 (4th Cir. 2021) ................................................................................ 54



                                                           vi
USCA Case #24-1113               Document #2066896                     Filed: 07/26/2024           Page 9 of 115



Marland v. Trump,
 498 F. Supp. 3d 624 (E.D. Pa. 2020) ................................................................. 10
Meese v. Keene,
 481 U.S. 465 (1987) ........................................................................................... 59
Members of the City Council of L.A. v. Taxpayers for Vincent,
 466 U.S. 789 (1984) ........................................................................................... 65
Moody v. NetChoice, LLC,
 144 S. Ct. 2383 (2024) ................................................................................. 63, 74
Moving Phones P’ship v. FCC,
 998 F.2d 1051 (D.C. Cir. 1993) ......................................................................... 13
Murthy v. Missouri,
 144 S. Ct. 1972 (2024) ....................................................................................... 78
National Ass’n of Mfrs. v. Taylor,
  582 F.3d 1 (D.C. Cir. 2009) ............................................................................... 73
Near v. Minnesota ex rel. Olson,
  283 U.S. 697 (1931) ........................................................................................... 79
Nixon v. Administrator of Gen. Servs.,
  433 U.S. 425 (1977) ............................................................................... 80, 82, 83
Nken v. Holder,
  556 U.S. 418 (2009) ........................................................................................... 86
Pacific Networks Corp. v. FCC,
  77 F.4th 1160 (D.C. Cir. 2023) .......................................................................... 14
Penn Cent. Transp. Co. v. City of New York,
  438 U.S. 104 (1978) ........................................................................................... 85
Reed v. Town of Gilbert,
  576 U.S. 155 (2015) ......................................................................... 66, 67, 69, 72
Rumsfeld v. Forum for Acad. & Institutional Rights, Inc.,
  547 U.S. 47 (2006) ....................................................................................... 77, 78
Sable Commc’ns of Cal., Inc. v. FCC,
  492 U.S. 115 (1989) ............................................................................................ 66



                                                          vii
USCA Case #24-1113               Document #2066896                    Filed: 07/26/2024           Page 10 of 115



 Sherley v. Sebelius,
   644 F.3d 388 (D.C. Cir. 2011) ........................................................................... 86
 Sorrell v. IMS Health, Inc.,
   564 U.S. 552 (2011) ........................................................................................... 63
 South Carolina v. Katzenbach,
   383 U.S. 301 (1966) ........................................................................................... 83
 Thomas v. Chicago Park Dist.,
   534 U.S. 316 (2002) ........................................................................................... 79
 TikTok Inc. v. Trump:
   490 F. Supp. 3d 73 (D.D.C. 2020) ..................................................................... 10
   507 F. Supp. 3d 92 (D.D.C. 2020) ..................................................................... 10
 Time Warner Entm’t Co. v. FCC,
   93 F.3d 957 (D.C. Cir. 1996) ............................................................................. 66
 Trump v. Hawaii,
   585 U.S. 667 (2018) ..................................................................................... 79, 86
 Twitter, Inc. v. Taamneh,
   598 U.S. 471 (2023) ........................................................................................... 63
 United States v. Brown,
  381 U.S. 437 (1965) ........................................................................................... 83
 United States v. O’Brien,
  391 U.S. 367 (1968) ..................................................................................... 61, 71
 Viereck v. United States,
   318 U.S. 236 (1943) ........................................................................................... 59
 Virginia v. Hicks,
   539 U.S. 113 (2003) ........................................................................................... 62
 Wagner v. FEC,
  793 F.3d 1 (D.C. Cir. 2015) ............................................................................... 72
 Ward v. Rock Against Racism,
  491 U.S. 781 (1989) ..................................................................................... 64, 70
 Williams-Yulee v. Florida Bar,
  575 U.S. 433 (2015) ..................................................................................... 72, 73


                                                          viii
USCA Case #24-1113                  Document #2066896                         Filed: 07/26/2024             Page 11 of 115



 Statutes:

 No TikTok on Government Devices Act,
  Pub. L. No. 117-328, div. R, 136 Stat. 5258 (2022) ........................................... 10

 Protecting Americans from Foreign Adversary Controlled Applications Act,
   Pub. L. No. 118-50, div. H, 138 Stat. 955 (2024) ................................................. 2
      § 2(a) ................................................................................................................ 79
      § 2(a)(1) .....................................................................................................11, 67
      § 2(a)(2) ........................................................................................................... 12
      § 2(a)(3) ........................................................................................................... 13
      § 2(b) ............................................................................................................... 88
      § 2(c)(1) ........................................................................................................... 13
      § 2(d) .........................................................................................................11, 79
      § 2(e) ....................................................................................................69, 87, 88
      § 2(g)(1) ........................................................................................................... 12
      § 2(g)(2) ........................................................................................................... 12
      § 2(g)(2)(A) ..................................................................................................... 73
      § 2(g)(2)(B) ...............................................................................................68, 69
      § 2(g)(3) ........................................................................................................... 12
      § 2(g)(3)(A) ..................................................................................................... 76
      § 2(g)(3)(B) ...................................................................... 12, 68, 71, 73, 75, 81
      § 2(g)(3)(B)(ii) ................................................................................................ 76
      § 2(g)(4) ........................................................................................................... 12
      § 2(g)(6) ........................................................................................................... 13
      § 3 .............................................................................................................. 14, 76
      § 3(a)-(b) ............................................................................................................ 5
      § 3(c) .................................................................................................................. 5

 Pub. L. No. 118-50, div. I, § 2(a), 2(c)(3)-(5),
   138 Stat. 960, 960-62 (2024) .............................................................................. 74

 10 U.S.C. § 4872(d)(2) .......................................................................................... 12

 12 U.S.C. § 72 ........................................................................................................ 13

 16 U.S.C. § 797 ...................................................................................................... 13

 22 U.S.C. § 611 et seq. ........................................................................................... 13

 42 U.S.C. §§ 2131-2134 ........................................................................................ 13


                                                                 ix
USCA Case #24-1113                 Document #2066896                      Filed: 07/26/2024            Page 12 of 115



 47 U.S.C. § 35 ........................................................................................................ 13

 47 U.S.C. § 310(b)(3) ............................................................................................. 13

 49 U.S.C. § 40102(a)(15) ....................................................................................... 13

 49 U.S.C. § 41102(a) ............................................................................................. 13

 50 U.S.C. § 4565 .................................................................................................... 14

 Legislative Materials:

 Discourse Power: The CCP’s Strategy to Shape the Global
   Information Space: Hearing Before the H. Select Comm.
   on the Strategic Competition Between the United States
   and the Chinese Communist Party, 118th Cong. (2023) .................................... 38

 H.R. Res. 1051, 118th Cong. (2024) ..................................................................... 18

 Open Hearing: The 2023 Annual Threat Assessment of the
   U.S. Intelligence Community: Hearing Before the S. Select
   Comm. on Intelligence, 118th Cong. (2023) .................................................24, 38

 The Chinese Communist Party’s Threat to America: Hearing
   Before the H. Select Comm. on the Strategic Competition Between
   the United States and the Chinese Communist Party,
   118th Cong. (2023) .......................................................................................28, 38

 TikTok: How Congress Can Safeguard American Data
   Privacy and Protect Children from Online Harms:
   Hearing Before the H. Comm. on Energy & Commerce,
   118th Cong. (2023) ............................................................................................. 28

 Worldwide Threats to the Homeland: Hearing Before the
  H. Comm. on Homeland Sec., 117th Cong. (2022) ............................................ 24

 Other Authorities:

 A Tik-Tok-ing Timebomb: How TikTok’s Global Platform Anomalies
   Align with the Chinese Communist Party’s Geostrategic Obejctives,
   Network Contagion Rsch. Inst. (2023) ............................................................... 39



                                                              x
USCA Case #24-1113                Document #2066896                      Filed: 07/26/2024             Page 13 of 115



 Attainder, Black’s Law Dictionary (12th ed. 2024) ............................................... 83

 85 Fed. Reg. 48,637 (Aug. 11, 2020) .............................................................. 2, 8, 9

 85 Fed. Reg. 51,297 (Aug. 19, 2020) .................................................................... 10

 86 Fed. Reg. 31,423 (June 11, 2021) ..................................................................... 10

 Global Engagement Ctr., U.S. Dep’t of State, Special Report:
   How the People’s Republic of China Seeks to Reshape the
   Global Information Environment (Sept. 28, 2023),
   https://perma.cc/69VB-HQMH ........................................................................... 23

 Drew Harwell & Tony Room, Inside TikTok: A culture clash where
   U.S. views about censorship often were overridden by the
   Chinese bosses, Washington Post (Nov. 5, 2019),
   https://perma.cc/D6KY-NSHG ........................................................................... 39

 Office of the Dir. of Nat’l Intelligence, Fireside Chat with DNI Haines
   at the Reagan National Defense Forum (Dec. 3, 2022),
   https://perma.cc/3R6F-D4F6/ ........................................................................................ 21


 David E. Sanger et al., Preparing for Retaliation Against Russia,
   U.S. Confronts Hacking by China, N.Y. Times (Oct. 25, 2021),
   https://perma.cc/T8F2-KTL7 ..............................................................................         I
 The Federalist, No. 44 (James Madison) (Hamilton ed. 1880) .............................. 83

 U.S. Dep’t of Justice, Office of Pub. Affairs, Attorney General
   William P. Barr Announces Indictment of Four Members of
   China’s Military for Hacking into Equifax (Feb. 10, 2020),
   https://perma.cc/G542-NC84 ..............................................................................          I
 University of Michigan Ford School, Christopher Wray: 2022
   Josh Rosenthal Memorial talk, https://perma.cc/S9WA-HJZ6 .......................... 27

 Georgia Wells, TikTok Struggles to Protect U.S. Data From Its
   China Parent, Wall St. J. (Jan. 30, 2024),
   https://perma.cc/SSD8-J4MB ............................................................................. 30




                                                             xi
USCA Case #24-1113                Document #2066896                     Filed: 07/26/2024            Page 14 of 115



 Emily Baker-White:
  EXCLUSIVE: TikTok Spied on Forbes Journalists, Forbes
     (Dec. 22, 2022) ................................................................................................ 28
  Leaked Audio from 80 Internal TikTok Meetings Shows that


                                                                                                              -
     US User Data Has Been Repeatedly Accessed from China,
     Buzzfeed News (June 17, 2022) ...............................................................
  TikTok’s Secret “Heating” Button Can Make Anyone Go Viral,
     Forbes (Jan. 20, 2023) ..................................................................................... 37




                                                            xii
USCA Case #24-1113   Document #2066896       Filed: 07/26/2024   Page 15 of 115



                                GLOSSARY

 Act                        Protecting Americans from Foreign Adversary
                              Controlled Applications Act

 CEO                        Chief Executive Officer

 FBI                        Federal Bureau of Investigation

 U.S.                       United States
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024    Page 16 of 115



                                  INTRODUCTION

       For years, Congress and the Executive Branch have maintained serious

 concerns about the threat to national security posed by TikTok, a social-media

 platform that is ultimately owned by the Chinese company ByteDance. Those

 concerns, which are confirmed by the intelligence community, arise primarily from

 the combination of certain features of TikTok and its ownership by a Chinese

 company. The Chinese government, which views the United States as a

 geopolitical rival, has broad authority and practical ability to require Chinese

 companies to secretly assist China’s intelligence, law enforcement, and national-

 security efforts. Given TikTok’s broad reach within the United States, the capacity

 for China to use TikTok’s features to achieve its overarching objective to

 undermine American interests creates a national-security threat of immense depth

 and scale.

       The concerns are primarily twofold. First, the TikTok application collects

 vast swaths of sensitive data from its 170 million U.S. users. That collection

 includes data on users’ precise locations, viewing habits, and private messages—

 and it even includes data on users’ phone contacts who do not themselves use

 TikTok. The United States has long been concerned that the Chinese government

 could use its robust authority to take control of these data and thus obtain “access

 to Americans’ personal and proprietary information,” which China may stockpile
USCA Case #24-1113         Document #2066896         Filed: 07/26/2024    Page 17 of 115



 and strategically deploy to undermine the United States’ security. 85 Fed. Reg.

 48,637, 48,637 (Aug. 11, 2020).

       Second, the application employs a proprietary algorithm, based in China, to

 determine which videos are delivered to users. That algorithm can be manually

 manipulated, and its location in China would permit the Chinese government to

 covertly control the algorithm—and thus secretly shape the content that American

 users receive—for its own malign purposes.

       Those grave national-security concerns engendered years of engagement

 among Congress, the Executive Branch, and ByteDance regarding whether the

 threats posed by the application could be ameliorated. That engagement involved a

 long series of unclassified and classified hearings and briefings, as well as

 negotiations with the company itself. In the end, Congress determined that a

 legislative solution was warranted and enacted the Protecting Americans from

 Foreign Adversary Controlled Applications Act, Pub. L. No. 118-50, div. H, 138

 Stat. 955 (2024) (Act).

       At a high level, the Act requires TikTok to be divested from Chinese

 ownership. If that control is not severed, other entities (such as mobile application

 stores) will be forbidden from providing certain services to enable TikTok’s

 continued operation inside the United States. The Act reflects Congress’s and the

 President’s considered judgments that nothing short of severing the ties between



                                             2
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024     Page 18 of 115



 TikTok and China could suffice to mitigate the national-security threats posed by

 the application. The Act also provides authority to the President to require certain

 other applications controlled by foreign adversaries—defined to include North

 Korea, China, Russia, and Iran—to be divested from those adversaries.

       Petitioners—TikTok and ByteDance, along with various U.S. users of the

 TikTok application—now challenge the provisions of the Act requiring TikTok’s

 divestment. Petitioners urge that the Act impermissibly burdens First Amendment-

 protected expressive activities that occur on TikTok. Petitioners dismiss the

 political branches’ determination that those incidental burdens are justified by a

 compelling national-security interest. In their view, the threat is illusory and

 unsupported by specific instances of the Chinese government’s exploiting TikTok

 to undermine the United States’ national security. But the serious national-security

 threat posed by TikTok is real, as evidenced by the public record and confirmed by

 classified information supplied by the intelligence community.

       Moreover, China’s long-term geopolitical strategy involves developing and

 pre-positioning assets that it can deploy at opportune moments. The United States

 is not required to wait until its foreign adversary takes specific detrimental actions

 before responding to such a threat. As the Supreme Court has repeatedly

 admonished, “national security decisions are delicate, complex, and involve large

 elements of prophecy for which the Judiciary has neither aptitude, facilities, nor



                                             3
USCA Case #24-1113       Document #2066896          Filed: 07/26/2024    Page 19 of 115



 responsibility.” Hernández v. Mesa, 589 U.S. 93, 113 (2020) (alteration and

 quotations omitted). This Court should reject petitioners’ invitation to second-

 guess the political branches’ informed national-security judgments.

       In addition to downplaying the national-security risks, petitioners misapply

 First Amendment law. The statute is aimed at national-security concerns unique to

 TikTok’s connection to a hostile foreign power, not at any suppression of protected

 speech. TikTok and ByteDance primarily contend that the Act will undercut their

 ability to engage in expressive activities like content moderation and posting their

 own content on TikTok. They largely dismiss the divestment option—under which

 ByteDance’s American affiliate could continue engaging in these activities on the

 platform—as infeasible, in significant part because TikTok’s U.S. operations are

 currently interwoven with operations in China and because China will not permit

 the export of the proprietary recommendation algorithm. These arguments only

 underscore the concerns that motivated Congress: TikTok’s U.S. operations are

 ultimately subject to the direction of a Chinese company subject to Chinese laws;

 those operations require TikTok to share enormous amounts of U.S. users’

 sensitive data with their Chinese-based counterparts; and China has specifically

 acted to maintain its ability to exercise control over TikTok.

       The Act thus survives any plausibly applicable level of First Amendment

 scrutiny—including any form of heightened scrutiny. The Act is narrowly tailored



                                            4
USCA Case #24-1113        Document #2066896          Filed: 07/26/2024     Page 20 of 115



 to, and the least restrictive means of, protecting the United States’ compelling

 interest in its national security.

        For similar reasons, TikTok’s fallback constitutional arguments are

 mistaken. The statute advances national-security interests while allowing TikTok

 to continue its operations to the extent consistent with addressing those interests. It

 is neither a bill of attainder nor a taking.

        For their part, the user petitioners focus on the effect that the Act may have

 on their own expressive activities by potentially forcing the closure of the TikTok

 platform within the United States. But as those petitioners do not deny, nothing in

 the Act forbids them from engaging in any expressive activity: even if the Act’s

 prohibitions take effect, they may continue to post and view the same videos on

 other platforms. Any preference these petitioners may have for using TikTok over

 those other platforms does not create a constitutional right to TikTok—nor could

 their preference overcome the national-security interests supporting the Act.

        The Court should deny the petitions for review.

                           STATEMENT OF JURISDICTION

        This Court has exclusive jurisdiction to review the Act’s constitutionality.

 Act § 3(a)-(b). Petitioners timely filed petitions for review on May 7 (TikTok),

 May 14 (Firebaugh), and June 6 (BASED), 2024. Act § 3(c) (allowing challenge

 up to 165 days after the Act’s April 24, 2024, enactment).



                                                5
USCA Case #24-1113       Document #2066896          Filed: 07/26/2024    Page 21 of 115



                            STATEMENT OF THE ISSUES

       Congress determined that continued ownership of TikTok Inc. by

 ByteDance, Ltd. poses a national-security risk. The Act thus permits TikTok to

 continue operating in the United States only if ByteDance executes a “qualified

 divestiture” of its interest in TikTok.

       The questions presented are:

       1.     Whether the required divestiture violates the First Amendment.

       2.     Whether the required divestiture is a Bill of Attainder.

       3.     Whether the required divestiture is a taking.

                  PERTINENT STATUTES AND REGULATIONS

       The Act is reproduced in the addendum to this brief.

                             STATEMENT OF THE CASE

       1. TikTok is a social-media platform through which users may “create,

 share, and view videos.” App.802. The primary feature of TikTok is “the app’s For

 You feed, which opens a collection of videos curated by TikTok’s proprietary

 recommendation engine based on an individual user’s interests and how the user

 interacts with content they watch.” App.807. The recommendation algorithm itself

 is maintained within China, which has forbidden its export. See App.156; TikTok

 Br. 24.




                                            6
USCA Case #24-1113      Document #2066896           Filed: 07/26/2024   Page 22 of 115



       TikTok is operated in the United States by petitioner TikTok Inc., an

 American company. App.801. TikTok Inc. is owned by TikTok Ltd., which

 operates the TikTok application globally. Declaration of David Newman, Principal

 Deputy Assistant Attorney General, National Security Division, Department of

 Justice ¶12 (Newman Decl.).1 Both entities are ultimately owned by Beijing

 ByteDance Technology, “a Chinese internet technology company headquartered in

 Beijing.” App.3. ByteDance originally launched TikTok in the United States in

 2017 and later relaunched the platform following ByteDance’s acquisition of the

 video-sharing platform Musical.ly. TikTok Pet. 9 & n.3. Since that time, TikTok

 has grown into “one of the most popular social media platforms in the world,” with

 “over 170 million users” in the United States. App.3.

       2. Since TikTok was launched, the application has generated significant

 national-security concerns in the political branches. These concerns are primarily

 grounded in two features of TikTok’s operation, combined with TikTok’s and

 ByteDance’s “tight interlinkages” with the Chinese government and the Chinese

 Communist Party. App.3.



       1
        This brief uses the term “TikTok” to broadly refer to the worldwide
 TikTok entities and TikTok application. Where the distinction among the TikTok-
 named corporate entities is relevant, this brief refers to TikTok Inc. as “TikTok
 US” and to TikTok Ltd. and the constellation of other entities that own, operate, or
 otherwise control the TikTok application outside of the United States as “TikTok
 Global.”

                                            7
USCA Case #24-1113      Document #2066896           Filed: 07/26/2024    Page 23 of 115



       First, TikTok collects vast swaths of users’ data. The application’s “data

 collection practices extend to age, phone number, precise location, internet

 address, device used, phone contacts, social network connections, the content of

 private messages sent through the application, and videos watched.” App.3.

 Chinese law generally requires Chinese companies to “assist or cooperate” with

 Chinese “intelligence work” and ensures that China and its security agencies have

 “the power to access and control private data” held by companies. App.4. As a

 result, the United States has long been concerned that TikTok’s “data collection

 threatens to allow the Chinese Communist Party access to Americans’ personal and

 proprietary information,” which could allow the Chinese government to, for

 example, “track the locations of Federal employees and contractors, build dossiers

 of personal information for blackmail, and conduct corporate espionage.” 85 Fed.

 Reg. 48,637, 48,637 (Aug. 11, 2020).

       Second, TikTok “relies on a proprietary” algorithm based in China that

 determines the videos sent to users. App.156. That structure gives rise to the

 prospect that the Chinese government could covertly “control the recommendation

 algorithm, which could be used for influence operations.” App.8 (quotations

 omitted). In other words, the recommendation algorithm provides an avenue “for

 the [Chinese government] to influence” the “content on TikTok.” App.156. And

 “[g]iven the sophistication of TikTok’s” algorithm, “it would be difficult to detect



                                            8
USCA Case #24-1113       Document #2066896          Filed: 07/26/2024   Page 24 of 115



 malicious changes” to the algorithm implemented by China (or at China’s

 direction). Id.

        Concerns about TikTok’s threat to national security have prompted repeated

 Executive Branch and congressional action over the past four years. In August

 2020, President Trump issued an Executive Order finding that “the spread in the

 United States of mobile applications developed and owned by companies in

 [China] continues to threaten the national security, foreign policy, and economy of

 the United States.” 85 Fed. Reg. at 48,637. In particular, the President determined

 that “TikTok automatically captures vast swaths of information from its users,”

 including “location data and browsing and search histories.” Id. The President

 considered that TikTok’s “data collection threatens to allow the Chinese

 Communist Party access to Americans’ personal and proprietary information,”

 which would allow the Chinese government “to track the locations of Federal

 employees and contractors, build dossiers of personal information for blackmail,

 and conduct corporate espionage.” Id.

        Pursuant to pre-existing statutory authority, President Trump directed the

 Secretary of Commerce to identify transactions related to TikTok that should be

 prohibited. In September 2020, the Secretary prohibited various commercial

 transactions related to ByteDance’s operations in the United States, based on

 findings similar to those articulated in the Executive Order. Those prohibitions,



                                            9
USCA Case #24-1113      Document #2066896          Filed: 07/26/2024    Page 25 of 115



 however, never took effect because they were preliminarily enjoined as exceeding

 the scope of the statutory authority. See TikTok Inc. v. Trump, 507 F. Supp. 3d 92

 (D.D.C. 2020); Marland v. Trump, 498 F. Supp. 3d 624 (E.D. Pa. 2020); TikTok

 Inc. v. Trump, 490 F. Supp. 3d 73 (D.D.C. 2020). The Executive Order was later

 rescinded. See 86 Fed. Reg. 31,423 (June 11, 2021).

       Also in August 2020, President Trump ordered ByteDance to divest all

 interests and rights in any assets or property used to enable or support ByteDance’s

 operation of TikTok in the United States and any data obtained or derived from

 U.S. users of TikTok. See 85 Fed. Reg. 51,297 (Aug. 19, 2020). That divestment

 order followed a review of ByteDance’s acquisition of Musical.ly by the

 Committee on Foreign Investment in the United States. The divestment order has

 not been enforced; the government did not enforce the order while the parties

 explored whether they could reach a resolution that adequately mitigated the

 government’s national-security concerns. See Newman Decl. ¶¶36-48. No such

 resolution has been reached.

       In 2022, Congress directed the Executive Branch to generally require the

 removal of TikTok from government devices “due to the national security threat

 posed by the application.” App.8-9; see No TikTok on Government Devices Act,

 Pub. L. No. 117-328, div. R, 136 Stat. 5258 (2022). That statute followed the

 decisions of “several federal agencies, including the Departments of Defense,



                                           10
USCA Case #24-1113       Document #2066896            Filed: 07/26/2024    Page 26 of 115



 State, and Homeland Security,” to prohibit “TikTok on devices for which those

 specific agencies are responsible.” App.4. And a “majority of states” have

 similarly “banned TikTok on state government devices” for similar reasons. Id.

        3. Against that backdrop, Congress and the Executive Branch continued to

 assess the national-security threat posed by TikTok and how to mitigate that threat.

 See App.5-12 (timeline of public statements between 2019 and 2024 by Executive

 Branch officials, legislators, and others). Most recently, Congress conducted a

 series of classified briefings and hearings conducted in early 2024, including

 (1) multiple House committee briefings; (2) a House committee hearing; (3) a

 briefing for the full House; (4) a briefing to Senate staff; and (5) a Senate

 committee briefing. See Newman Decl. ¶122; App.11.

        On April 24, 2024, the President signed the Act into law. The Act makes it

 unlawful for third parties to “distribute, maintain, or update” a foreign adversary

 controlled application in the United States by providing certain services such as

 offering the application in a mobile application store. Act § 2(a)(1). There is no

 dispute in this litigation that the deprivation of these services would practically

 preclude an application from continuing to be widely offered to American users.

 To enforce those prohibitions, the Act provides the Attorney General authority to

 bring suits in district court seeking civil penalties and declaratory and injunctive

 relief. Act § 2(d).



                                             11
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024    Page 27 of 115



       The Act provides two pathways for designation of an application as a

 “foreign adversary controlled application.” First, the Act itself designates any

 application “operated, directly or indirectly,” by “ByteDance, Ltd.”; “TikTok”; or

 subsidiaries or successors of those companies. Act § 2(g)(3). Second, the Act

 provides that a “foreign adversary controlled application” also includes any

 application that (a) is operated by a “covered company” that is “controlled by a

 foreign adversary” (i.e., that is owned by an entity in North Korea, China, Russia,

 or Iran, Act § 2(g)(1), (4); 10 U.S.C. § 4872(d)(2)); and (b) is “determined by the

 President to present a significant threat to the national security of the United

 States” following an administrative process. Act § 2(g)(3)(B). A “covered

 company” is in turn defined to generally include a company that operates any

 application that permits users to interact with each other but to exclude a company

 that operates an application “whose primary purpose is to allow users to post

 product reviews, business reviews, or travel information or reviews.” Act § 2(g)(2).

       The Act’s relevant prohibitions take effect 270 days after the designation of

 an application as a foreign adversary controlled application; for applications owned

 by ByteDance and TikTok, therefore, the prohibitions take effect 270 days after the

 Act’s enactment—on January 19, 2025. Act § 2(a)(2). At the same time, an

 application may be removed from the Act’s ambit by execution of a “qualified

 divestiture” that the President determines will result in the application’s “no longer



                                            12
USCA Case #24-1113       Document #2066896            Filed: 07/26/2024    Page 28 of 115



 being controlled by a foreign adversary” and that “precludes the establishment or

 maintenance of any operational relationship between the United States operations”

 of the application “and any formerly affiliated entities that are controlled by a

 foreign adversary.” Act § 2(c)(1), (g)(6). And the President is permitted to grant a

 single extension, of no more than 90 days, of the prohibitions’ 270-day effective

 date if the President makes certain certifications regarding the application’s

 progress toward a qualified divestiture. Act § 2(a)(3).

       In this way, the Act echoes approaches previously taken by Congress and the

 Executive Branch to address the national-security risks arising from foreign-owned

 commercial entities. Congress has long regulated foreign ownership of, or control

 over, companies operating in particular industries. See, e.g., Moving Phones P’ship

 v. FCC, 998 F.2d 1051, 1055 (D.C. Cir. 1993) (discussing 47 U.S.C. § 310(b)(3)’s

 restriction on granting radio licenses to foreign-owned corporations); 12 U.S.C.

 § 72 (nationally chartered banks); 16 U.S.C. § 797 (licenses for dams, reservoirs,

 and similar projects); 42 U.S.C. §§ 2131-2134 (licenses to use a nuclear facility);

 47 U.S.C. § 35 (undersea cable licenses); 49 U.S.C. §§ 40102(a)(15), 41102(a) (air

 carriers); cf. 22 U.S.C. § 611 et seq. (requiring certain agents to disclose their

 relationship to foreign interests). Similarly, the Federal Communications

 Commission has recently denied or revoked licenses to operate communications

 lines in the United States in response to increasing “concern[s] about espionage



                                             13
USCA Case #24-1113       Document #2066896          Filed: 07/26/2024    Page 29 of 115



 and other threats from Chinese-owned telecommunications companies.” Pacific

 Networks Corp. v. FCC, 77 F.4th 1160, 1162-63 (D.C. Cir. 2023). And Congress

 has broadly regulated foreign investment in the United States, including

 authorizing the President to block foreign investment transactions that threaten

 national security. See generally 50 U.S.C. § 4565 (Committee on Foreign

 Investment in the United States).

       Finally, the Act provides for judicial review. Any party seeking to challenge

 the Act itself or “any action, finding, or determination under” the Act may file a

 petition for review in this Court, which has “exclusive jurisdiction over any” such

 challenge. Act § 3.

       4. These three consolidated petitions for review of the constitutionality of

 the Act’s provisions relating to TikTok and ByteDance were filed in this Court.

 One petition, filed by TikTok US and ByteDance, claims that those provisions

 violate First Amendment speech rights and Fifth Amendment equal protection

 rights of the companies, constitute an impermissible bill of attainder, and effect an

 unlawful taking of private property without just compensation. TikTok Pet. 30-65.

 The other two petitions—collectively filed by eight individuals and a nonprofit

 organization within the United States that post content on TikTok, see Firebaugh

 Pet. 3-8; BASED Pet. 2—claim that the Act’s provisions violate the First

 Amendment speech rights of U.S. users. Firebaugh Pet. 27-29; BASED Pet. 13-16.



                                            14
USCA Case #24-1113      Document #2066896           Filed: 07/26/2024    Page 30 of 115



 All three petitions seek a declaration that the Act’s ByteDance and TikTok

 provisions are unconstitutional and an injunction prohibiting the Attorney General

 from enforcing them. TikTok Pet. 65; Firebaugh Pet. 30; BASED Pet. 16.

                          SUMMARY OF ARGUMENT

       Congress passed the Protecting Americans from Foreign Adversary

 Controlled Applications Act, requiring the Chinese company ByteDance to divest

 its ownership of TikTok US in light of evidence that the TikTok application’s

 continued operations in the United States pose a risk to national security so long as

 TikTok is subject to the control of a Chinese company. Under Chinese law, the

 Chinese government exercises considerable influence and authority over Chinese

 commercial entities—like TikTok’s parent company ByteDance—that can be used

 to serve that government’s ends, which are increasingly counter to U.S. national

 security. And the Chinese government has exhibited a strategy in many contexts of

 pre-positioning assets for malign uses to provide maximum leverage in critical

 situations.

       TikTok provides the Chinese government the means to undermine U.S.

 national security in two principal ways: data collection and covert content

 manipulation. First, TikTok collects vast amounts of information on its users (and

 non-users), including sensitive information on millions of Americans. The Chinese

 government’s authority over ByteDance enables it to gain access to and exploit



                                           15
USCA Case #24-1113       Document #2066896            Filed: 07/26/2024    Page 31 of 115



 that information to undermine U.S. national security, including by developing and

 recruiting intelligence assets, identifying American covert intelligence officers and

 assets, and blackmailing or coercing Americans. In addition, China’s use of

 artificial intelligence and other tools for analyzing large datasets in ways that are

 contrary to U.S. national security depend on the sort of bulk data that TikTok

 collects.

        Second, according to the TikTok petitioners (at 6, 24), TikTok’s platform is

 unique primarily by virtue of its proprietary recommendation algorithm that

 determines which videos users receive (based on data that TikTok collects on those

 users). That algorithm, which is based in China, is vulnerable to covert

 manipulation by the Chinese government to mold the content that American users

 receive. Those covert efforts could be deployed as part of a malign influence

 campaign against the United States—for example, to promote disinformation or to

 amplify preexisting social divisions.

        The TikTok petitioners’ own submissions here confirm that proposals to

 minimize the Chinese government’s influence over the application’s American

 operations—including by potentially entering into a national security agreement

 with the federal government—would not sufficiently address the national-security

 risks. ByteDance has never agreed to move the recommendation algorithm for

 TikTok out of China—and China has prohibited its export in any event—so even



                                             16
USCA Case #24-1113      Document #2066896           Filed: 07/26/2024   Page 32 of 115



 under petitioners’ own proposals, U.S. user data would continue to flow to China

 to train that algorithm. And more generally, any continued entanglement between

 TikTok and ByteDance would raise national-security concerns, given the porous

 and open relationship between the Chinese government and Chinese companies:

 under any such arrangement, the Chinese government would maintain the

 capability to collect information on Americans and to covertly manipulate the

 information that Americans receive, all to the detriment of U.S. national security.

       The Act does not target activity protected by the First Amendment, as

 neither collection of data nor manipulation of an algorithm by a foreign power is

 protected activity. And the Act does not distinguish among speech based on its

 content, instead focusing on the control of TikTok by a foreign adversary, such that

 any adverse effects on expression by U.S. persons are indirect and amply justified.

 The Act thus easily satisfies any plausibly relevant standard of First Amendment

 scrutiny.

       The TikTok petitioners’ fallback constitutional arguments lack merit. The

 Act does not impose the sort of legislative punishment prohibited by the Bill of

 Attainder Clause because the Act has the nonpunitive purpose of addressing the

 national-security concerns posed by TikTok and other foreign adversary controlled

 applications. And even if it did, corporate entities like ByteDance and TikTok

 cannot invoke the Clause’s protections to relieve themselves of complying with



                                           17
USCA Case #24-1113            Document #2066896               Filed: 07/26/2024         Page 33 of 115



  reg ,la ory bw-d n . An ·th TikTok petition rs . ai] t e .tabli h th t 1h

  imp rmis ·bl d prr e- them of a11          onomi         au th ir ole basis for claiming

  tha the legitim te regulation ofthe·r bu in             effects a taking.

  I.          n r         i        ot R quirement . ,ea nabl                            ign1fi -nt
              tion        u        r           n       Ti T                    on· u d
                n                  ~e           ~

           After re iving ,exten i e bri fin         on th_ inteUigenc community s

  asse ment of the th a p ed b. ByteDanc and TikTok                        ngre     ena ed the

       . t at is ue h re. r quiring di estm n1 fr rn      bin e ownership in ord _r for



  than a. dozen classified and unclas ified                       he p,r      ious fur,ee year -

  in luding                                                                   ommunity- to

  con id r the threats po d b         hin in         n raJ and TikTok in particular.       pp. 7-1-•

                                                                                        ational-

                        amply ju tify the      t.

           Byt -Dan              . . affiliat are nique. Th          ik ok mobill • ppl" -

  1    u ed b. mor than 170 mimon           m d an . p        idin th      mpan with a wide

  range of informaf o~ ·nctuding pr ci              location an ph ne con ,              ers. e

  App.. Andi          popularity m -an that man             ri ans re i en

  through TikTok.        e e.g., pp.41 d scribing ik ok as th                 domin      n '

  platform for       • d an under 30:'. Bu            ikTok ' paren ompan and


                                                     18
USCA Case #24-1113            Document #2066896                 Filed: 07/26/2024         Page 34 of 115




  re mm ndat" on aJgorithm ar bas d in hina, giving ri                    to th ri k tha a foreign

  ad er ary • iU Nield ik ok~ enormou power to d ance its own interest                           o he

  d •rim nt of . . na ional security.

          Bas d on b . th publi and las ifi d in'fi nna ion. the • • . . lnteHi,gen



  na ·onal security.'         laration o Cas         la kbum, A ist t Direct r f ationaJ

  Int Hig qce Offi e of the Dir ctor ,of a ional Int rn               n     9, Ba kburn De I. .

                  and TikTok r pre ent particularl         aJuab[ assets t1 r hin o u               to

                   wn int r      at th        nse ofth       nit d tat       inte ests in two

  principal         . ' Id. First, there i                                  re ByteDan         or

  TikTok 'tO pro •de th [ hine

  identifying U.. u e data oil tted b the ik ok ppr a i n. 'Id                         co,nd, th r 1

  a r" k that hina ma                    yt .........,........ or Tik ok •o . o rtly manipulate its

  r . omm ndation a]gorithm to                     infi rmaHon r cei d           • mil Hon of

  Am ri ans. Id. Wors stiH b au                  hina" na ionaI securi                 ould pl.i hibi

  Byt Dance from dj closing uch requests TikTok u rs ould b i

  man·puia ed        ntent erv d to them · fl ct d th genuine· • s of o. er

      mer· ans.

          P titioner     on                         . as disabled from addr         ing thls

  p     ntial thr a b au        in their i       that threa has not m L ri Jiz d. But
USCA Case #24-1113              Document #2066896                     Filed: 07/26/2024         Page 35 of 115




      o gr,es       an a.ct - ,en i, an of the hreat n d harm h                 not .t br adl

  materializ d o b en de ec ed.                   upr · me ourt has square] rejec d the

                              o -mment must amas                specifi                    th t a nationa -

  • - urity harm tifl         rtain1y transpire, holding that the

  •        nfront              rea     ' through pII      nti       measur []."Holder .

  Humanitarian Lm Project 561                 .. 1 4-J.5 (--010). That pr·n iple i. esp ciaJJ

  app sit here            h :r China has adopted a frat gy ofp,re-p ifo ing as etS for

               us at a p int of maxim m utility for the bin                     go mm nt

       ina" mahgn act1vife again t th               nit d tate ·n          lat d ontexts, Ion · with

  oth r infonna i n oU               ed b the inte Ii n             ommunity and di           ed b lo

  d mon trate tha th                                      ulati e. See, e.g. Bia kburn D 1.               4-

      5.

                                            er bip o                                inct      lion I-


                      1                                rt - -:- t         ite
                                                                t         anc




  geopohtical comp titi n betw n the                nit d tates and hina. In the ont xt of

  that com          tition   hina r, ular     u        omioall pri aJ e ompani

  in ere        .



                                                       20
USCA Case #24-1113          Document #2066896               Filed: 07/26/2024     Page 36 of 115




              a high le . ] China in ends to make i s If in o th pre min nt p wer in

  Ea t ·· ia and a maJor p wer on th w Id tage. • B.la bum Deel. 16. A part o

  its tr t g •o      urpass th      ni ed             mpr hen i                            hina

  i    ngaged in a fuH- p ctrum ,coordinai ed _ffort to und r ut u.· . influence dri. e

  wedge       etw- n th     nit d ta e and i partner         and ~fos er ·orm tha a or

  [i ] authoritarian       , n .~·Id.· ·ee al o Bia kbum D cl.      I . • 9. Direct r of

      ational Intelli en     . r'l H in     ha noted th    , t:raordinary degr e to whi h

      hin •• is de .· · Joping fram works for ,coll ting foreign daJ ~ and us[in ] it to

  targ t audien e for infonnation campaign or oth r thin ~·as              U     pr -

  po i ioning capabil 'tie or "'future u - 1i r a arie of m -an that they re

  in r,ested in. App.        n.43 quoting ffic ofth Dir. of a • Intelligence ,

  Fire ide I al , ith D 1 Haine at th Reagan atio11al D ife, · e Forum (Dec. ,



           ln upport of its goals     hina aims to sow d ubts abou        . . lead rship

  llnderm'n d n        racy and extend      r hin ' ] influence abr ad,' including thro gh
  • onlin ~nflu n      operation . • Bia . bum D l. • 29. These efforts         ld in lude

  attempts, to intlu n e . . Jection and to '"m gni    1              ietal di isi ns. Id.

                           o emm n has akead          nga _ d in man relat d m rgn

  acti itie ,in th     nited •tate -in luding u ing • conomm,c pi nage and c ber

  th ft□ to ive its firm a       mpeHti       ad anta _a ain the United tat        and its

                                                  1
USCA Case #24-1113         Document #2066896               Filed: 07/26/2024       Page 37 of 115




  comp,anies. • Bia kbum D l. • 5. This acti i           include     ten i     and broad-

  ranging e anomic esp'on ge aim d at ste ling               e hnology,       mm rc·al

                                                               tors to b n -fit the [ hine e

  go emm nt] and Chin se companie . Bl kb m De _I. · _ •. he int lligenc -

  community r ports th t ·• hina s hacking pro ram whi h , pan the glob and bu

  affi cts   .. p,artners as well i Jarger      an that of e ry ath r maj      nation

   ombined. Id       hina has al o b n in        Jv d ·n e tensm e and       ars-long ffort

  to a u:mulate ru tur d datas                                                 upport i

  intelHgen e and counterin Hig nee operat:on :' Blackbum D                   31. ~d China

  h     pur u d malign influ n      operations t further the , o -mm n

  'ncludi g     o o hip and transn .Honam r pre ion in th          nited tates, to      ount

                        [the go .· rnment] consid r cd i al of [i J narraf s poU i -           1




  and a ion .·~ • la bum D ct            7 29· ee also pp.9 ,' r n. 2.

          • Ta\~ in particu-'ar i a signifi ant p enhal flashpo,int ,or con rontation

  b twe n [ hina] and the    I   nj ed   tat     b cau e hina • iaims that th        nited

      tate i using Taiwan a uncL rnlin         hina   ris . Bla kburn D       t l9. In putSuit
  o i g al of "for ed unifi af on         ith aiv-'311   . hi:na wiU c n in     to appl

  military and e anomic pre ur as              n as pubr m      ging and. influ n e

  a ti ities.' Id




                                                 2
USCA Case #24-1113       Document #2066896            Filed: 07/26/2024     Page 38 of 115




        As part of China· s coordinated, whole-of-government strategy to overtake

  and undermine the United tates. China s_pecificall) relies on nominally private

  companies to advance state interests. China blurs the line between government and

  private enterprise to allow China to exert control over- and require cooperation

  from- private companies. The Chinese government "tasks leading [Chinese]

  technology companies ·on a daily basis' with processing bulk data to glean

  intelligence from them:· including .. identifying individuals that should be targeted

  in information manipulation campaigns.··· Global Engagement Ctr., U.S. Dep't of

  State. Special Report. How the People 's Republic of China Seeks to Reshape the

  Global Information Environment 22 (Sept. 28. 2023), https://penna.cc/69VB-

  HQ fH .
USCA Case #24-1113            Document #2066896               Filed: 07/26/2024      Page 39 of 115




           pecificaU ~ China has ena t -d a omprehens·v - Jegal regune to -n ur tha

   bin may a ess and use data h Id by Chin e companie for hina • o

  purpo . . nd r hin e nafornd-se urity laws th Chine                     o emment caa

              h.ina b ed , ompan o • urr nder a I its data to th [ o ,ernmen ]

  makin     ompanies headquart red there an e pionage tool ofth [ bin se

   om nunist Party].         ppi. .        FBI Diri tor hr" toph r ~ ra e plain d to

  Congre       he differ. n e b.....,...".....                       compan and •,h [ hin e

  Communjst Party] i                                              diffe en      • Open Hearing:

  The 0..J Annual Thr t A e. menl ofihe U. S. lntelligen e Community: He ring

  Before the . elect Comm.. on lntelli nee I 1 th              og. 40 20~ , ( nate 10 J

  Annual lntelligen • Threat A es ment Hearing), as Chin se law can b

  an aggre ive weap n to compel what ,er the hine                    go ernm nt wants [th_

   ompan to do]' int nns of sharin infonnation or              rving as a o ,I o he , hine e

   o ernment, Warfcn ,,de Thr, at to the Homeltmd.· Hearing B ifore the H. Comm.

  on Homeland S c.. Jl 7th ong. 7                02.. )· see al o general{ Declara ion of Ke m

  Vomdran          si tant Dire tor, Counterintelligen e Di isiun. Fed ral Bur au of

  In stigation       10 1 (Vorndran Ded.):            · wman Deel.     16-25.

          , hina        h• authority to bmadl r quir pr" at corp ration               "as ist

                    wi h          hin       go emm . n ,   ro a ariety of areas. ewman

  D t 19; ee al co omdran Deel. 10. or example. companie - are generall '

                                                     4
USCA Case #24-1113       Document #2066896             Filed: 07/26/2024      Page 40 of 115




  required to ··promptly report any clues and provide evidence of any activities

  endangering national security:i Newman Deel. J9. Similarly. companies are

  required to assist Chinese officials in protecting national security and ..anti-

  terrorism work~'-both of which are broadly defined. cwman Deel. 1 19, 21

  (quotations omitted). And Chinese intelligence institutions are generaJly directed to

  establish ·cooperative relationships with relevant individuals and organizations" -

  including Chinese companies-to facilitate their '•intelligence work both

  domestically and abroad.'' Newman Deel. 22 (quotations omitted); see also App.4

  & nn. 11-15 (House Report discussing these laws). Private companies can pose a

  unique threat to national security because they ··enable adversaries to conduct

  espionage. technology transfer, data collection, and other disruptive activities

  under the disguise of an otherwise legitimate commercial activity." Vorndran Deel.

   6.




                                            25
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024     Page 41 of 115




        Finally, China·s leveragjng of its companies to advance national interests is

  particularly concerning because it often happens in secret. The Chinese laws

  governing cooperation with government investigations generally prohibit

  companies "from revealing when and if the Chinese government has requested any

  assistance or information from them.··   ewman Deel. 24; see also Blackbum

  Deel. 71 (The Chinese     ational Security Law '·prohibits those who comply with

  the [Chinese government's] requests from disclosing such cooperation publicly.'').

  Thus, companies like ByteOance may be pro\riding China with access to sensitive
USCA Case #24-1113       Document #2066896            Filed: 07/26/2024     Page 42 of 115




  personal data or with other assistance in advancing Chinese goals-or undermining

  American national security- without the awareness of their users or the public.

               2.    TikTok I a Uniquely Helpful A et to China

        As discussed. the national-security threat from TikTok arises from two

  principal sources: (a) data collection and (b) covert content manipulation.

        a. Data collection. TikTok collects substantial amounts of data from its

  users. Access by the Chinese government to that data- both individually and in

  bulk- would pose substantial threats to the United tates· national security. That

  diverse dataset on TikTok users poses a national-security concern because. as

  Congress recognized, the Chinese government ··has sho"n a willingness to steal

  Americans('] data on a scale that dwarfs any other [government]. .. App.8 & n.42

  (quoting University of~ichigan Ford School. Christopher Wray: 2022 Josh

  Rosenthal A1emorial talk. hllps://perp,a.cc/ "9\\' A-HJZ6).

        TikTok collects vast amounts of personal information including "age. phone

  number. precise location. internet address. device used. phone contacts. social

  network connections. the content of private messages sent through the application.

  and videos \vatched.'' App.3; see also App. I 56 ("TikTok collects tremendous

  amounts of sensitive data."). This collection includes not only the user· s own

  infonnation, but infonnation about non-users stored in the contact lists in the user's

  phone. And because the application's algorithm incorporates the user's physical


                                           27
USCA Case #24-1113          Document #2066896           Filed: 07/26/2024       Page 43 of 115




  location TikTok ha ac es to the pre ise [        .tmns ofmilli n of American .

  Un urprising[       tha inf; .rma:rion can b u d for an orts of in emgen e

  op ration . or i.nfluen   operations.• pp.H quoting BI Dir ct r            ra .

          TikTok has already d mon trated ho        . . u • r data may be mp1o ed for

  nefariou purpo . . Publi r porting , gg sts tha .. B eDance L d. mplo ees

  a ce     d T" Tok user data ... to, monitor he phy ical locations of p Hi         1




   itizen .'   pp.8 . • n.45 cifng milyBaker          ite EXCLUIVE: TikTok ~iedon

  forb     Jo·urnali t Forbe. D .         -022) . In parti ular, Fo.rbe   f p rted that


         ral B t Dane emp)o ee 'tra k d m tti         'ownalists and• a man number

   .fp ople onnected to the [joumali ts) through th ir ik        k ace un . Id..• ee

  ,a l v TikTok: Ho Cougre         an a egutJl':d Americ iJf Data Privac; and Protect

  Childr 11/r-om Onlin Harms: Hearin Be/or the H. Comm. on En rgy &

  Commerce 11 th on . , 24~ 169           023Hde . ribu g B t Dance· bi ory of

   urveiUing    m r· anjourn li t • The · hi"es       ommim· 1 Parf)       Thr at to

   mericu: He,aring Before the H. Select Comm. on lhe tralegic CompeJition

  Between II United State and the Chine e Communi t Party. 1 E                ong. _4

   _,o      Hous • elect Committee Heari12g on Chin e Communist Part ) (s atem n

  of Matt Potting r. hina Program h irman Founda ion for th

  Democra i       I   confinnin that Byt Dane u d TikTok        o sUtV i U .. journar ts




                                             28
USCA Case #24-1113        Document #2066896              Filed: 07/26/2024      Page 44 of 115



  in order to try to identify their sources and Lo retaliate against their sources'');

    ewman Deel. ~98.

        Given that risk of surveilJance~ Senator Warner remarked that ··leading news

  organizations ... across the world'' have since •4 advis[ed) their investigative

  journalists not to use TikTok:• App. I 18. Other Members of Congress similarly

  highlighted these data-collection concerns. See, e.g.. App.25 (Rep. Rodgers noting

  that Tik.Tok •4collect[s] nearly every data point imaginable-from people's

  location, to what they search for on their devices, to who they are connecting

  with/' and ..even if someone has never been on TikTok, their personal information

  is at risk of being collected and abused'.); App.109 (Sen. Thune noting that '·the

  Chinese Communist Party is able to gain unlimited access to the account

  information ofTikTok users").
USCA Case #24-1113      Document #2066896           Filed: 07/26/2024      Page 45 of 115




        Moreover, former TikTok employees recently r,eported to the media that

  TikTok employees "share U.S. user data on [China]-based internal communication

  systems that China-based ByteDance employees can access" and that ·•TikTok US

  also approved sending US data to China several times.'' Blackburn Deel. 89(b):

  see also App. 7. Public reporting aJso indicates that TikTok managers sometimes

  instruct employees to share users' data with ByteDance without going through

  official channels. Georgia Wells, TikTok Struggles 10 Protect US. Data From Its

  China Parent. Wall St. J. (Jan. 30, 2024)1 https://pem1a.cc/SSD8-J4MB.
USCA Case #24-1113   Document #2066896   Filed: 07/26/2024   Page 46 of 115
USCA Case #24-1113   Document #2066896   Filed: 07/26/2024   Page 47 of 115




                                   32
USCA Case #24-1113   Document #2066896   Filed: 07/26/2024   Page 48 of 115




                                   33
USCA Case #24-1113       Document #2066896            Filed: 07/26/2024     Page 49 of 115




        The TikTok petitioners elide the relevant inquiry when they seek to

  downplay (at 54) the value of the data that could be collected by characterizing it

  as "aggregate data about the user population ·s video uploading and consumption

  behavior.'· That is not the data about which Congress was concerned. Rather. as

  note~ TikTok co11ects personal information about its users and those in their

  phones• contact lists. as well as real-time information on the physical location of

  millions ofTikTok users. See App.3. And some, or an, of that data may be

  accessible from within China. In 2023. "public reporting revealed that TikTok has

  stored sensitive financial information. including the Social Security numbers and

  tax identifications of TikTok influencers and United States small businesses, on

  servers in China accessible by ByteDance» employees. App.10 & n.58.




                                           34
USCA Case #24-1113        Document #2066896             Filed: 07/26/2024     Page 50 of 115




        The TikTok petitioners do not even attempt to suggest that China would not

  find those data valuable or that their availability to a foreign adversary- in contrast

  to the data collected b) other technolog) companies that are not controlled by a

  foreign adversary •would harm national security. Instead. they rely entirely on

  their assertion. refuted below. that measures short of the divestment requirement

  would be sufficient to protect such data. See infra pt. J.B. Congress's determination

  that Tik Tok, as currently constituted, poses a threat to national security based on its

  ability to acquire U.S. person data and secretly transfer that data to the Chinese

  government stands essentially unrefuted.

        b. Covert content manipulation. China ma) also covertly manipulate the

  application·s recommendation algorithm to shape the content that the application

  delivers to American audiences. The backbone of TikTok's appeal is its

  proprietary content recommendation algorithm, which determines which \lideos

  users receive and into which the U.S. government has limited visibility. See also

  Blackbum Deel.      43-46. By directing ByteDance or TikTok to covertly

  manipulate that algorithm; China coul<l for example. further its existing malign

  influence operations and amplify its efforts to undermine trust in our democracy

  and exacerbate social divisions. As enator Warner succinctly put it. TikTok could

  be ··covertly manipulated'' by an ..authoritarian regime" with a long track record"
                                                                    0




  of "promot[ing] disinformation." App.118.


                                             35
USCA Case #24-1113        Document #2066896             Filed: 07/26/2024      Page 51 of 115




        Congress reasonably acted to prevent this son of content manipulation by a

  hostile foreign power. A foreign power's secret manipulation of the content on

  social-media platforms to influence the views of Americans for its own purposes

  poses a grave threat to national security. Among other things, it would allow a

  foreign government to illicitly interfere with our political system and political

  discourse, including our elections. The Supreme Coun has long recognized that

  excluding foreign citizens- to say nothing of foreign govemmcnts- .. frorn basic

  governmental processes is not a deficiency in the democratic S)'stem but a

  necessary consequence of the community's process of political self-definition."

  Cabell v. Chal'e::-Salido, 454 U.S. 432, 439 (1982)~ see also, e.g.. Ambach v.

  Nonrick, 44 l U.S. 68, 73-74 ( 1979) ("[S]ome state functions arc so bound up with

  the operation of the State as a governmental entity as to permit the exclusion from

  those functions of all persons who have not become part of the process of self-

  government."). Because .. [t]he government may exclude foreign citizens from

  activities •intimately related to the process of democratic self-government.~"

  Bluman v. FEC. 800 F. Supp. 2d 28 I, 287 (D.D.C.2011) (three-judge court)

  (quoting Bernal v. Fainter. 467 U.S. 216,220 ( 1984)). aff'd. 565 U.S. 1104 (2012).

  the United States ..has a compelling interest'· in ·•limiting the participation of

  foreign citizens in activities of American democratic self-government:· which

  includes ··preventing foreign influence over the U.S. political process:· id. at 288;


                                             36
USCA Case #24-1113           Document #2066896                    Filed: 07/26/2024       Page 52 of 115



   t!i   ai o Indep nde 11 In t. 1• FE , 1,6 . upp. d 176, l I & n.11 (D D.C. 016)

  th~ e-jud e         urt (re ognizin _ the • • al import.an ' of ·en.sm[ing] that fore"gn

  nati na1 or oreign go _ mm nts d no . e -k to •nflu                       · ited tate

  , lee ions• affd,        0 U.. 1157 ( 017). It •                        fl r ongre .to be

   oncerned tJ at T1kT,ok ou[d            a pow 1ful platform in he hands of the hine

  go mm nt i China w re t - atremp o manipulat an Am ican ele •ion-if, for

  ex:ampl     lhe -hinese go emmen were ,o determin that th ou come of a
                                          I




  particu ,ar Am i an el        ion w , umc·en l important to hine e interests.

           Th fur.eat th t Byt Dan        or TikTok ould asil manipu1 te the algorithm

  o promot or uppre           certain con ent i not an ab tract one. TikTok and

  ByteDan                      r gularl       ngage' in a pra tic                         lO   hi h

   ertain • id o .ar manuany pro,mot d o • a hi                  a c rta·n numb r of

  views.       pp.9     n.47 (quoting     mn Bak r-'J
  Btliton Can .Jake A, one Go Viral . orb                    Jan. _o 0~    . Tik ok d - not

  di Jo      which po ts are·           d - and p        •     portin found that hina- as d

  _mplo ee had abu ed h ating pri il -ge                      rth th pot ntial t, dram i all

                 ertain c nt n i     iew d. n ·nstan               I d to an BJ   un rec 1v1 g

  more han thre miUion • w .' Baker-Whit                      TikTok • ecrel "Hi aling" Button

   upra· ee al o         p.l - 3     90       92 no ing that T"kTok mplo ees an pr· more

  c rtain po     with its '"heating fun :tionality .


                                                     7
USCA Case #24-1113        Document #2066896             Filed: 07/26/2024     Page 53 of 115




        Because TikTok has "control over the content received by an enormous

  daily audience of Americans," the application "could be a po~erful tool for

  manipulating this country's public discourse and public perceptions of events."

  Blackbum Deel. 47. And. as multiple witnesses testified to Congress, Chinn could

  covert!) leverage that tool "to censor or shape the content Americans see:• Id. ; see

  also House Select Committee Hearing on Chinese Communist Parry, at 24-25

  (statement of Matt Pottinger, China Program Chairman, Foundation for the

  Defense of Democracies); Discourse Power: The CCP ·s Strategv ro Shape the

  Global Information Space: Hearing Before the H Select Comm. on the Strategic

  Competition Between the United States and the Chinese Communist Parry. 118th

  Cong. 55 (2023) (statement of John GamauL Senior Fellow. Australian Strategic

  Polic:> Institute): App.9 n.53. 11 n.61 (citing this prior testimony).

        This sort of manipulation of the algorithm would be difficult to detect. as

  FBI Director Wray testified in multiple hearings. See, e.g.. Senate 2023 Ammal

  Intelligence Threat Assessment Hearing 26 (statement of Christopher Wray.

  Director. FBI) (expressing uncertainty that 'v.•e would see·· the Chinese

  government manipulating content on TikTok •~if it was happening"); see also

  App.10 (citing FBI Director Wray·s testimony). The TikTok petitioners themselves

  emphasize the importance of the proprietary recommendation engine. highlighting




                                             38
USCA Case #24-1113       Document #2066896             Filed: 07/26/2024     Page 54 of 115



  that the determination of which content should be served (or not served) to users is

  generaUy not transparent

         Public reporting indicates that, at least as of 2019, ·~moderators based in

  Beijing''- not U.S.-based employees- --had the final call" on approving or

  blocking certain videos and would ··routinely ignore[)" U.S.-based employees·

  requests ~'not to block or penalize certain videos" ·•out of caution about the Chinese

  government's restrictions and previous penalties on other ByteDance apps. ·~ Drew

  Harwell & Tony Room, Inside TikTok: A culture clash where U.S. views about

  censorship often were overridden by the Chinese bosses. Washington Post (Nov. 5.

  2019), https://penna.cc/D6KY-NSHG. And even within the United States, a more

  recent academic study "detected sizable anomalies in the prevalence of both pro-

  and anti-Chinese Communist Party narratives" on TikTok as compared to a

  different American social-media platform. Blackbum Deel. 64; see also A Tik-

  Tok-ing Timebomb. Ho1r,., TikTok 's Global Platform Anomalies Align with the

  Chinese Communist Party's Geostrategic Objectives, Network Contagion Rsch.

  Inst. l (2023) (finding a ''strong possibility that TikTok systematically promotes or

  demotes content on the basis of whether it is aligned with or opposed to the

  interests of the Chinese Governmenf').
USCA Case #24-1113      Document #2066896           Filed: 07/26/2024   Page 55 of 115




        "'Intelligence reporting further demonstrates that ByteDance and TikTok

  Global have taken action in response to [Chinese government) demands to censor

  content outside of China.•· Blackbum Deel. 54.
USCA Case #24-1113   Document #2066896   Filed: 07/26/2024   Page 56 of 115




 -
USCA Case #24-1113   Document #2066896   Filed: 07/26/2024   Page 57 of 115
USCA Case #24-1113       Document #2066896            Filed: 07/26/2024    Page 58 of 115




        These concerns are only enhanced by TikTok's collection of substantial user

  data. as discussed. See supra pp. 27-35. Thal data collection may ·'greatly
USCA Case #24-1113        Document #2066896            Filed: 07/26/2024     Page 59 of 115




  enhanceff' China's artificial intelligence capabilities and. in tum. those capabilities

  may be used more effectively ..to augment its influence campaigns. such as

  amplifying preexisting social divisions. and targeting U.S. audiences." Vomdran

  Deel. 32. Indeed. this is similar to how TikTok uses data collection for

  commercial purposes: the data collected on individual users is employed to ensure

  that users receive videos that they are most likely to find compelling.




               3.     China Would Have Incentive to Capitaliz.e on TikTok in
                      Moment of Extreme Importance
        Allowing the Chinese government to remain poised to use TikTok to

  maximum effectiveness at a moment of extreme importance presents an

  unacceptable threat to national security. The Chinese government's maintenance of

  TikTok as a potential threat is of a piece with its general strategy of pre-positioning

  its assets for use at a time of its choosing.

         For example, the intelligence community reports that hackers sponsored by

  the Chinese government "have pre-positioned for potential cybcr-attacks against

  L .. critical infrastructure b)' building out offensive weapons within that

  infrastructure. poised to attack whenever [China] decides the time is right.''

  Blackbum Deel. ~26. "The United tates has found persistent [Chinese•

                                              44
USCA Case #24-1113      Document #2066896           Filed: 07/26/2024    Page 60 of 115




  government] access in U.S. critical telecommunications, energy. water and other

  infrastructure. [Chinese government] backers knoY.11 as "Volt Typhoon· hide

  within [American] networks. Jying in wail to use their access to harm U.S.

  civilians.- id.
USCA Case #24-1113   Document #2066896   Filed: 07/26/2024   Page 61 of 115




                                   46
USCA Case #24-1113   Document #2066896   Filed: 07/26/2024   Page 62 of 115




                                   47
USCA Case #24-1113   Document #2066896   Filed: 07/26/2024   Page 63 of 115




                                                             Perhaps
USCA Case #24-1113       Document #2066896            Filed: 07/26/2024     Page 64 of 115



  most ignifican" ByteDance also owns some of the intellecrua[ property on which

  TikTok's products and services are ba eel- including. ofcoW'Se, the proprietary

  algorithm. See App.817. 828-29 (TikTok ··relies on rhe support of employees of

  other ByteDance sub idiaries for ome function . including the development of

  portions of the computer code that run the TikTok platform"): App.832-33

  (describing how TikTok relie on ..custom-made ByteDance oftware tool T').
                   0
  Taken together. TilcTok US is heavily reliant on" Tik.Tok GlobaJ and ByteDance

  in numerous "operational and technological" way . which means that China .. j

  weU-pos1tioned to mamtain some degree of ecce       or influence over" TikTok US.

  Blackbum Deel. 78~see also App.817. 828-29. 832-33.

        B.     Congress Reasonably Determined That the Threat Could "ot Be
               Ameliorated by •arrower Propo als

        As discussed above. there should be no room for serious dispute that TikTok

  as currently constituted po e a poLential threat to natJonaJ ecurity that Congre s

  had a compelling intere t i:n combatting. Petitioners thus focus their energies on

  alternative measures that, in their view, would adequately mitigate the national-

   ecurity risk. But Congress and tile Executive Branch reasonably concluded that

  neither the proposed national security agreement that B}1eDance and TikTok

  sought to negotiate with the Executive Branch nor petitioners• other proposed

  alternatives would suffice.



                                           49
USCA Case #24-1113           Document #2066896                      Filed: 07/26/2024         Page 65 of 115




                                      ed      tion I _ uri              g~ m        t


           The TikTok p ition rs arge y rel · on a propo d national ecuri

  a r _m nt tha was c-0ns·der d and re· . t db th                                Branch. That

  pr posal faH d                             :parat ion between th             ompan. s ..

  o - ration and        hina, pres n ed mat ri 11 grea er ri               han    h r national

   · -urity agreem nts that h_ e b n on ummated and failed t ad quate~ addre

  the       maj r concern d" uss d abo .

            . 1 a basJc le el. the T":kTok p titione • argum nt · hat·                   ~   . operation

       uld be uffi ientJy in ulat d Ii om hin            influen       to mitigat th _ na i nal-

        ,·dty ri k - i ou di e tment is fun dam nta l a
                    I                                                 dd    ~ •ith its insist n   - that

  di , tm n • an irm asibl option beca             o th n -d for Ti Tok

  int grat d with m , hine        partne . Pe iti n rs highlight tha the• propr· ary

  Ii    omm daJ i n ng·n • i lo a1ed in China, and th                   [t]h     hin         gov mm n

  ha made cl ar in public ta _m n tha i •would not p rmit a for d di                              tm nt of

   h        II m nda ion     ngine. • Tik ok Br._ .        1        furth r , mph ize hat

         ou d not op rat ind p ndend from B                                hi h i lo a ed in hi n .

  bo     be au e Byt Dan e ,employ          . alone ha         th                o op rate th

  al o ithm. Br.         and b- au    T'k

  int     a i n Br. 23-24. And p , if,oner tres that ·an

  United           • ould a minimum requil'i a data..sbaring ag em nt ith

                                                 50
USCA Case #24-1113             Document #2066896               Filed: 07/26/2024       Page 66 of 115




   yteDance ~ o b comm . r fall . iable. Br. 3• ee also pp. 48-49 supr,a

  explainin ho            TikTok U ,                   in ertwin d with Byt Dan             and

  other Byt Dance ub idiaries)             n as um'ttg those repre enm • ns are true~ that

  requi d ntanglemen . ou]d on             make he pot,enfal thr at po d by TikTok. moli ,

   on eming.

            ongre s,and th _Pr sident were not requir d o accept an arrang rnent in

  whi h ik.T, k" 'algorithm, ourc _ od , and dev lopm nt a tivi ie                  would

  ·remain in hina. und ByteDanc Ltd. s , ontro~ and object o [ hin                      ]I la

  ByteDance would• ontinu to ba                                         .. operation • ikTok

  couJd • ontinue to re · on the engineers and back-end upport in hina lo updat

  its dgor· hms" and sourc c d '· and Tik ok v ould continu to send                         .. u r

  data o     hina.        pp.4-5. In hort he pr . p                                   re d ab ·

  TikTok or imp           _d by ongres , would not addre         ither ofth significant

  n tional- e urity cone m . that ari e . m           ikTok      urr nt op ration and

   ru tu       t     ay nothing of he fac th t th E           u i e Bran h lack d a • baseline

  I vel oftm t • tha        • Tok and ByteDaoce would           ffici n l comp[ with the

  prop ,ed agr m _nt.           .wman D cl.    7 ~ 115.

           TikTok"        ontinaed operation           ni ed ta       pose risk hat are

  ·guali             d•         from tho .e addr s ed un         th r naition aJ security

  agreem nt.s the xe uti          Branch has found ac ptab]e.           -wman D · I. l 15. For

                                                 51
USCA Case #24-1113             Document #2066896               Filed: 07/26/2024     Page 67 of 115




  one. in ,oth    agre ment the ·        cuti    Bran h ha , · n 'able to in ist on brigh-

  lin , as rtainabI •                     th ·n stmen a i su from malign f;               agn

  influence -      or     ample by imiting ac
                                     I                   o physica] fac"Iitie   r en 11 e

  in o,nnation. • wman Deel. ' [115 a) i)-(iii . im"lar measm              are un ail bl in

  the ,case o TikTok. b . a.us       h - company maintai s that its com.mer ial op ration

  re uir that data flo        o hlna and that core fun tion , on inue to b p rfi ,rmed in

   hi a.      \\'man e l. 11 {a i . Mor o er th                                   ofthe

  comm r ial a ti iti: s ·hat TikTok would ha             been penni     d to   otinue ngaging

  in und     th pr.op ed agr men and h parta utar features of its pl               orm-

  inc udin       mas ive data flows b                           •at   and [ hin 1and the

  opacity o       ikTok       gorithm - mean that th             utiv Branch would not have

  'mean·      • U, b          ab e to guaran e
                                1                ompHan        • ith • • prop sa1.        wman

  D cl. 1 ' b ii

           Although petifon t pta .       on iderable eight on th propo aJ            o-c H d

   shut-d wn op ion • TikTok Br. 16 27 59-60· Firebaugh Br. t 5                 8 tha .

  osten ibl authori . woutd not h ·• · o ercome the difficuJtie . d             rib d. Th

  ability o ·talc •a tion in r pon e o noncomplian e is ffi ti.

  go ernm nt could d t t noncompJian                                                      ecuf

  B an h lacked onfid nc that it could do            .      gardl      th • cop of that

  pr po ed au hori        w     .ub tanti I mor · imiti d than petitioners ugge t· th
USCA Case #24-1113           Document #2066896            Filed: 07/26/2024       Page 68 of 115



  pr po d agre ment "allo ed ii r a emporary top· onl for ,a pee· 1 Li t of

  narrow     cop d       iota: ions and did not pro id th go     mment       ith "'di r tion

  to shut dov.m th TikTok platfonn based on its , wn ind pend n ass· s ment . f

  oa, ional se urity risk.    ewman D cl. 1 4(:b - c . The xecuti            Bran h hus

  d t anined tha th , hut-d wn option •~as in uffi ient •o mitiga

   ecurity ris   ~    wman D      t   114(1)-and , ongre

  requir di estm nt ra her than th mor limit d m ans ugge               db      .ikTok ,

  pmpo al

          b. The prop al I o      iled ad .· qua el to addr     the p cific ri k posed by

  Tik ok s conn tion ,o a fot ign ad ersa .

          Dala collection. Th Tik.Tok p titian rs mpha ·z that under thei prop aJ

  ··protected u .. r data ... wou 1 be t r d in the nited       at    in the cloud

  environm n of - ..- as d ra le                   ion.· Ti T,ok Br. 16. Bu       noted

  there is no dispute ha under any pr p e • agreem nt, Tik ok would ne d to end

  enorm      . amoun of da       o China to feed the 1gor ·th        indeed 'the compan

  would ne er agree to ~·cease coH ting         .. user data or endin i o B ijing to

  train the algor'thm.       wm n

          The ugge ion hat this con m c uld b mitiga db anonymizJn th da a

  1   mer'tle . "'Op n- ource r porting has     peat dl. rai · d concern that suppo .edl

  ano:nymized data i rar 1 . if ev r ttul anonymou . '          e man Deel. - 10 I. F r

                                               3
USCA Case #24-1113        Document #2066896             Filed: 07/26/2024     Page 69 of 115



  example, using ostensibly anonymized data from cell phones, New York Times

  writers were able to "identify, track, and follow 'military officials with security

  clearances as they drove home at night"" and "'law enforcement officers as they

  took their kids to school. ••, Id.: see also, e.g.. Leaders ofa Beautiful Sm,ggle v.

  Baltimore Police Dep '1, 2 F.4th 330, 343-44 & n.11 (4th Cir. 2021) (explaining

  how "it is almost always possible to identify people" from otherwise purportedly

  anonymous locational data); ACLU v. Clapper~ 785 F.3d 787, 794 n.J (2d Cir.

  2015) (''[I]n the context of most large-scale metadata sets. it would not be difficuJt

  to reidentify individuals even if the data were anonymized."').
USCA Case #24-1113       Document #2066896            Filed: 07/26/2024     Page 70 of 115




        Content moderation. The TikTok petitioners assert that their proposed

  '~Agreement would guard against foreign manipulation ofTikTok's content,

  including through third-party monitoring ofTikTok's content moderation

  practices. recommendation engine, and other source code:· TikTok Br. 16. Given

  the TikTok petitioners· emphasis on the complexity ofTikTok·s code. the

  proprietary nature of the algorithm. and the difficulty that a potential buyer would

  have in understanding and operating the platform. Congress was entitled to doubt

  that content manipulation could be adequately monitored by a third party.

        In particular, there would be no way to ascertain in real time from the

  platfonn·s output whether its contents were derived from the ordinary operation of

  the algorithm or from malign influence. Particular videos might "appear to users


                                           55
USCA Case #24-1113          Document #2066896               Filed: 07/26/2024      Page 71 of 115



  because th       are organicaU p pular amon Am i an . b cau e th y at d m d

  newsworth b TikTok s ,con ent cum~ s.                r becaus , hina dire ted th

  platform op                       tho    id    , app ar mot'\ . frequ ntl .      wman

  D I. 7 d .

           Th    ugg s ion hat r,- iewing the ~urce cod          .1ould be uffic·ent i nore

  th   ,i.ze and complexi    o th code and the other factors tha go into he platform

  operation. Mo r .c .· nU ~ ByteDance r pre ent d to the Executi e Bran h in 0 ....



  wo , ld take                              wman Deel. 80. B compari on he

       indow

  Th       nit d ta    d snot ha      the capacity · o ac       mph h th h rcul an task of




  ag[i ements]. • :    wm an D J.                                iz and te hni al c mplexity

  of th TikTok pll1i     nn and i    nd rl in        oftwar ,    n uring omp •ance ·-v.,ouJd
       .
  r qurr re our

                            en a suming e ry lin of our             od     uld b monitor, d

  and verified. China • ould e rt m fgn intlue , through ·,he               ry rune featur

  that ba       mad the "k ok platform g obaH           ucc sful.     ewman D 1. . 7 b).

  The '""h ating' featured cr"b dab ·

                                                5,
USCA Case #24-1113       Document #2066896             Filed: 07/26/2024        Page 72 of 115



  content of (China"s] choosing." Id. Reviewing source code would not ensure that

  such 'features would be used for benign commercial ends, not malicious ones, thus

  inhibiting the government from detecting noncompliance .• , Id.




  -            2.    Petitioners• Alternative Proposals Would Not Adequately
                     Address the ational-Security Risks
        Petitioners' other alternative proposals fare no better. Petitioners~

  suggestions that Congress could have required Tik:Tok to djsclose its content-

  moderation policies and pennit independent researchers to examine content fail to

  account for Congress 1s data-security concerns. And even as to content-moderation.

  Congress's fundamental concern is that the Chinese government could covertly

  manipulate content on the application. That covert manipulation would no~ of

  course, be disclosed in TikTok's policies. Similarly. the notion that the government

                                            57
USCA Case #24-1113           Document #2066896               Filed: 07/26/2024      Page 73 of 115




   ou d    impl     nga      in sp _ h o its own o count r an

  propaganda,      tr baugh Br. -4 ign re         on re       con m for co ,ert oreign-

  ad ersa:ry manipula ,i n that m.dd n . be det ted.

          Finan the Tik ok p titian            argum nt at 9 that         ngfl     -- mrld ha

      nd d th ban n lhe us           • T'kTok n o _mm nt d           ices to 'ederal

  ,emplo ee ·and , ontmc o           pers nal d   ic s' fails ,om anmgfull grapp                ith

  th national-            threat posed b TikTok. F r one Tik.Tokmay,                      d o

  gather da. a n u        and n n-u rs alik .         e plained.       upra pp.           I~ 2.

  Tha pot ntia1 breat annot b am H ra d b a narro • er re tri tion n us o the

  appli ation b      rtain      up . Regard!      ~ man    of the sp cifi data s curity

  concern d" u       d bo ,         o ar b ond on m r I t d o hina colt t' n of

  da a regar-ding urr n fi d ra emp                       ontractors. In t d th e con rn

     -nd both to hin • hulk c Ile tion of dat and o hin • tar t d oil ti non

  individuaJ      ho ar n t fed ral mpl           - in ludin,_     or exampl      ram·1

  m mb rs or pot nti I futur go mment mplo                   s , man of whom ma be

  t nag r oda . parti uiar problem gi en TlkT, k popu]ari                   among . ou g

                             v n1    ongre   i full     nt'tl d to l i la ,e in th int re

  am Americans' data          urity· i1 i not requir d lo limit its lfto pro ecting he

   e rr·ty of d al mploy sand contra tor .
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024   Page 74 of 115



 II.   The Act Satisfies Any Plausibly Relevant First Amendment Standard

       A.     The Act Addresses National-Security Concerns and Does
              Not Target Protected Expression

       As explained, see supra Part I, the Act addresses the threats posed by

 China’s potential control of TikTok—and, in particular, the national-security

 harms that accompany China’s ability to exploit TikTok to access Americans’

 sensitive personal information and to covertly manipulate the information that

 Americans consume. Those harms that the Act aims to ameliorate do not

 themselves arise from protected First Amendment activity. Obviously, the

 collection of Americans’ data is not itself expressive activity. And China (a foreign

 state), as well as ByteDance and TikTok Global (“foreign organizations operating

 abroad”), have “no First Amendment rights,” much less a First Amendment right

 to covertly manipulate the information reaching Americans. Agency for Int’l Dev.

 v. Alliance for Open Soc’y Int’l, Inc., 591 U.S. 430, 436 (2020).

       That holds equally true for TikTok US, ByteDance’s and TikTok Global’s

 wholly owned and controlled corporate subsidiary in the United States that runs on

 technology developed and maintained in China. Cf. Viereck v. United States, 318

 U.S. 236, 244 (1943) (describing registration and disclosure requirements for those

 acting as publicity, propaganda, or public-relations agents for foreign principals);

 Meese v. Keene, 481 U.S. 465, 469 (1987) (same). Although the curation of

 content on TikTok by the Chinese-controlled “proprietary recommendation


                                            59
USCA Case #24-1113      Document #2066896           Filed: 07/26/2024    Page 75 of 115



 engine,” TikTok Br. 6, is itself a form of speech, that speech does not enjoy any

 First Amendment protection because it is—by the TikTok petitioners’ own

 admission, see TikTok Br. 24—the speech of a foreigner.

       Petitioners thus focus on the Act’s incidental effects on expressive activity,

 such as the speech of American content creators on TikTok or activity in which

 TikTok US may itself engage (for example, content moderation independent of the

 recommendation algorithm or posting on the platform). But that activity is not the

 Act’s target. To the contrary, Congress expressly authorized the continuation of

 those expressive activities on TikTok so long as the national-security harms could

 be mitigated by eliminating, through divestment, the opportunity for the Chinese

 government to use TikTok to collect Americans’ data or covertly manipulate the

 information they receive. And TikTok users in the U.S. have the option of turning

 to other platforms.

       The TikTok petitioners’ contention that divestment is not legally or

 practically feasible does not advance their arguments. TikTok Br. 24, 31; App.156.

 For one, Congress’s inclusion of the divestment option underscores the nature of

 Congress’s true concerns—the control of TikTok, not the content on the

 platform—whether or not ByteDance believes it can ultimately divest. Regardless,

 if petitioners are correct that the content-recommendation algorithm cannot be

 exported outside of China and that the remaining aspects of the application



                                           60
USCA Case #24-1113       Document #2066896            Filed: 07/26/2024    Page 76 of 115



 (divorced from the algorithm) are not valuable or popular, that conclusion only

 highlights the fundamental national-security concerns underlying the statute. See

 supra Part I. On the other hand, if TikTok’s operations in the United States have

 value separate and apart from the algorithm—such as through the application’s

 user base and brand value—it is hard to imagine that TikTok or ByteDance would

 choose to abandon that substantial value by refusing to divest. And in that scenario,

 the incidental burdens that the Act places on users’ speech would be further

 minimized.

       At most, then, the statute has an incidental effect on protected activity in the

 United States. As the Supreme Court explained in United States v. O’Brien, 391

 U.S. 367, 377 (1968), such statutes are permissible so long as they further a

 substantial governmental interest unrelated to the suppression of free expression

 and “the incidental restriction on alleged First Amendment freedoms is no greater

 than is essential to the furtherance of that interest.” The national-security interests

 set forth above are not just substantial, but compelling, and divestment is narrowly

 tailored to address those interests. And the statute here has even less of an effect on

 protected activity than the statute at issue in O’Brien, which prohibited the burning

 of draft cards and thus precluded an entire form of protest. Here, the Act prohibits

 an ownership structure that gives a foreign adversary control over TikTok, but it

 does not prohibit any category of protected speech, even incidentally. The user



                                             61
USCA Case #24-1113       Document #2066896            Filed: 07/26/2024   Page 77 of 115



 petitioners, for example, have no First Amendment right to TikTok, the algorithm

 it uses, or a platform subject to Chinese control.

       In that respect, the Act is more like the enforcement action upheld in Arcara

 v. Cloud Books, Inc., 478 U.S. 697, 706-07 (1986), when the government sought to

 close a bookstore because it presented a public-health nuisance. Even though a

 bookstore indisputably facilitates First Amendment activity, bookstores may not

 “claim special protection from governmental regulations of general applicability

 simply by virtue of their First Amendment protected activities.” Id. at 705. And the

 lack of any First Amendment violation was underscored because the relevant

 parties “remain[ed] free to” engage in the same expressive activity “at another

 location.” Id. Similarly, in Virginia v. Hicks, 539 U.S. 113 (2003), the Supreme

 Court upheld a statute that forbade the reentry of any person with prior civil

 violations into an otherwise open public forum. As the Court explained, even as

 applied to persons who wish to engage in expressive activity in the forum,

 enforcement of the statute “no more implicate[d] the First Amendment than would

 the punishment of a person who has (pursuant to lawful regulation) been banned

 from a public park after vandalizing it, and who ignores the ban in order to take

 part in a political demonstration.” Id. at 123.

       In short, the alleged burdens on petitioners’ speech are purely incidental, and

 “the First Amendment does not prevent restrictions directed at commerce or



                                             62
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024    Page 78 of 115



 conduct”—like those here—“from imposing incidental burdens on speech.” Sorrell

 v. IMS Health, Inc., 564 U.S. 552, 567 (2011). And even that incidental burden

 leaves open multiple alternative channels for communication. The challenged

 provisions of the Act restrict the ownership of a single social-media application,

 leaving open numerous other well-known platforms, including several that provide

 venues for short-form videos similar to those posted on TikTok—such as

 Facebook, Instagram, Snapchat, Twitter (now “X”), and YouTube, among others.

 See Moody v. NetChoice, LLC, 144 S. Ct. 2383, 2395 (2024) (“The biggest social-

 media companies—entities like Facebook and YouTube—host a staggering

 amount of content.”); Twitter, Inc. v. Taamneh, 598 U.S. 471, 479-80 (2023)

 (describing how Facebook, YouTube, and Twitter are “three of the largest and

 most ubiquitous platforms on the internet” and “[o]n YouTube alone, users

 collectively watch more than 1 billion hours of video every day”).

       Despite the availability of alternative platforms, the user petitioners seek to

 convert their preference for using TikTok into a First Amendment right to the

 platform’s continued existence. But it is well established “that the First

 Amendment does not guarantee the right to communicate one’s views at all times

 and places or in any manner that may be desired.” Heffron v. International Soc’y

 for Krishna Consciousness, Inc., 452 U.S. 640, 647 (1981). Even in the context of

 time, place, and manner regulations, which—unlike the Act—directly regulate



                                            63
USCA Case #24-1113       Document #2066896            Filed: 07/26/2024    Page 79 of 115



 speech in the United States, the government may permissibly impose restrictions

 that “reduce to some degree the potential audience for . . . speech.” Ward v. Rock

 Against Racism, 491 U.S. 781, 802 (1989). In Kovacs v. Cooper, 336 U.S. 77

 (1949), for example, the Supreme Court upheld an outright prohibition on a means

 of expression—namely, sound trucks. “That more people may be more easily and

 cheaply reached by sound trucks” is “not enough to call forth constitutional

 protection for what those charged with public welfare reasonably think is a

 nuisance when easy means of publicity are open.” Id. at 88-89. The Firebaugh

 petitioners’ argument (at 59-60) that the government’s national-security interests

 must be disregarded merely because TikTok is their “primary method of engaging

 with audiences they cannot reconstitute elsewhere” cannot be reconciled with this

 precedent.

       The Firebaugh petitioners’ reliance (at 27-28) on City of Ladue v. Gilleo,

 512 U.S. 43 (1994), is misguided. There, the Supreme Court analyzed an ordinance

 prohibiting the display of nearly all signs on homeowners’ property as a time,

 place, and manner regulation that failed to leave open alternative channels because

 it “almost completely foreclosed a venerable means of communication that is both

 unique and important.” Id. at 54-56. The First Amendment concerns occasioned by

 a direct restriction on a form of expression that “carrie[d] a message quite distinct

 from” the alternatives identified, id. at 56, are different in kind from petitioners’



                                             64
USCA Case #24-1113       Document #2066896            Filed: 07/26/2024     Page 80 of 115



 objection that the Act could cause them to choose other platforms that they

 consider inferior in certain respects but that nonetheless offer broad opportunities

 to post video content on the internet, see Firebaugh Br. 28-30. In other words,

 although petitioners express a preference for using TikTok, nothing about the Act

 materially inhibits their “ability to communicate effectively” on the wide variety of

 other available platforms. Members of the City Council of L.A. v. Taxpayers for

 Vincent, 466 U.S. 789, 812 (1984).

       B.     Petitioners’ Arguments for Heightened Scrutiny Fail

       Although the Act directly regulates conduct unprotected by the First

 Amendment (a foreign adversary’s control of a company that raises significant

 national-security risks), petitioners nonetheless contend that the Act’s restrictions

 on TikTok are subject to heightened scrutiny. That is so, according to petitioners,

 because the Act draws content- and speaker-based distinctions, because it singles

 out TikTok, and because it burdens users’ associational rights.

       As discussed below, none of those justifications for heightened scrutiny

 applies here. But in any event, even if heightened scrutiny were to apply, it would

 clearly be satisfied in light of the national-security interests at stake. See supra Part

 I. This Court has repeatedly recognized that “[i]n the national security context,

 ‘conclusions must often be based on informed judgment rather than concrete

 evidence, and that reality affects what we may reasonably insist on from the



                                             65
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024    Page 81 of 115



 Government.’” China Telecom (Ams.) Corp. v. FCC, 57 F.4th 256, 266 (D.C. Cir.

 2022) (quotation omitted). The Supreme Court has similarly cautioned against

 judges’ attempts to second-guess the political branches’ necessarily predictive

 judgments on matters of national security. See Humanitarian Law Project, 561

 U.S. at 34-35 (recognizing that when taking “preventive measure[s]” to “confront

 evolving threats” in the national-security context, the political branches may

 permissibly rely “on informed judgment rather than concrete evidence”).

       Indeed, petitioners err in focusing on the lack of congressional findings in

 the Act, going so far as to claim that “the absence of statutory findings by itself

 requires the Act’s invalidation.” TikTok Br. 50; see also TikTok Br. 17-20;

 Firebaugh Br. 16, 42. Statutes need not be backed by an administrative record, and

 “[n]either due process nor the First Amendment requires legislation to be

 supported by committee reports, floor debates, or even consideration, but only by a

 vote.” Time Warner Entm’t Co. v. FCC, 93 F.3d 957, 976 (D.C. Cir. 1996) (per

 curiam) (alteration in original) (quoting Sable Commc’ns of Cal., Inc. v. FCC, 492

 U.S. 115, 133 (1989) (Scalia, J., concurring)).

       1. The Act is content neutral because it does not draw “distinctions based on

 the message a speaker conveys.” Reed v. Town of Gilbert, 576 U.S. 155, 163

 (2015). The restriction on TikTok’s ownership reflects the considered judgment of

 the political branches that China has the capability and incentive to use the



                                            66
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024    Page 82 of 115



 application to amass massive amounts of U.S. user data and to exert covert

 influence over U.S. affairs in direct contravention of U.S. interests. As petitioners

 acknowledge, content on TikTok encompasses “all manner of topics, from sports

 and entertainment to religion and politics.” TikTok Br. 5. The Act does not pick

 and choose among those topics and therefore does not implicate the same types of

 concerns as a law that “singles out specific subject matter for differential

 treatment.” Reed, 576 U.S. at 169.

       Nor does the Act prohibit or require any particular type of content

 moderation. Instead, the unique concern is that, due to a company’s foreign

 ownership, a hostile foreign nation could use it to advance its own interests to the

 detriment of the United States. If a company without the same ties to a foreign

 adversary developed the same recommendation algorithm—or, indeed, acquired

 the algorithm currently used by TikTok, as expressly authorized by the statute—

 the Act would not apply. The statute’s application to TikTok thus does not reflect

 any discrimination based on content or viewpoint, but rather the national-security

 risks described above. And the statute’s provisions allowing regulation of other

 applications are likewise content neutral. The Act applies not to applications that

 provide any particular sort of content, but rather to a “foreign adversary controlled

 application,” Act § 2(a)(1), which is defined in terms of ownership rather than

 content. In particular, the President has authority to designate other applications



                                            67
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024     Page 83 of 115



 that are “controlled by a foreign adversary” (China, Russia, North Korea, or Iran)

 and that “present a significant threat to the national security of the United States.”

 Act § 2(g)(3)(B). Accordingly, the Act’s prohibitions apply irrespective of whether

 the “viewpoints” expressed in videos on the application are predominately pro-

 American or anti-American. Firebaugh Br. 47. The Act targets situations where, as

 in the case of TikTok, a company that can be expected to follow one of those

 foreign adversaries’ laws or directions operates an application implicating

 substantial national-security concerns.

       Petitioners misunderstand the import of the statute’s exception for

 applications “whose primary purpose is to allow users to post product reviews,

 business reviews, or travel information and reviews.” Act § 2(g)(2)(B). Various

 businesses that sell products and services may have applications that allow users to

 post content of this kind—and that therefore technically satisfy the statute’s

 definitions—but that would not share the unique attributes of dynamic platforms

 where users engage by sharing “text, images, videos, real-time communications, or

 similar content” for consumption by other users. Act § 2(g)(2)(A)(i). The Act does

 not express a preference for speech about “products, business, and travel” over

 speech about “politics, religion, and entertainment,” TikTok Br. 36-37, but instead

 recognizes particular susceptibilities that arise from the manner that users interact

 and engage with social-media platforms like TikTok and similar websites.



                                            68
USCA Case #24-1113       Document #2066896             Filed: 07/26/2024   Page 84 of 115



       Petitioners also misunderstand how the exception operates. The Act

 excludes from its reach “an entity that operates [an application] whose primary

 purpose is to allow users to post product reviews, business reviews, or travel

 information and reviews.” Act § 2(g)(2)(B). The most natural reading of that

 language is that the listed review applications cannot serve as qualifying

 applications that subject a company to the Act’s strictures, rather than that

 Congress created a loophole allowing otherwise-covered companies to escape

 regulation merely by also creating a review application. At a minimum, that

 understanding is a “plausible statutory construction[]” that “should prevail” over

 any construction that raises constitutional concerns. Clark v. Martinez, 543 U.S.

 371, 380-81 (2005). And as petitioners’ own precedent instructs, Firebaugh Br. 45-

 46, the correct remedy for any constitutional infirmity would be to sever the

 exception, not to invalidate the entire Act. See Barr v. American Ass’n of Political

 Consultants, Inc., 591 U.S. 610, 636 (2020) (plurality opinion). That is particularly

 so where the exception applies only to entities that might be designated in the

 future (thus rendering it inapplicable to petitioners’ claims), and where the statute

 has an express severability clause, see Act § 2(e).

       Unable to locate any content-based distinctions in the statutory text,

 petitioners resort to conjecture about “the purpose and justification for the law.”

 TikTok Br. 37 (quoting Reed, 576 U.S. at 166); Firebaugh Br. 46; BASED Br. 17.



                                            69
USCA Case #24-1113      Document #2066896           Filed: 07/26/2024    Page 85 of 115



 But they overlook that the Act “serves purposes unrelated to the content of

 expression.” Ward, 491 U.S. at 791. As discussed above, the Act is directed at

 preventing widespread data collection and covert malicious manipulation by

 foreign actors whose aims are antithetical to U.S. national-security interests. The

 Department of Justice’s talking points and the House Committee on Energy and

 Commerce’s report repeatedly emphasized those content-neutral objectives

 divorced from any suppression of free expression. See App.2 (describing how

 China has undermined U.S. “national security interests” by “us[ing] access to

 Americans’ data” to “conduct espionage activities” and by “us[ing] deceptive and

 coercive methods to shape global information” (quotations omitted)); App.156

 (discussing the “key national security concerns” that “TikTok collects tremendous

 amounts of sensitive data” and that China may “influence content on TikTok—

 without United States visibility”). Those goals are controlling “even if [the Act]

 has an incidental effect on some speakers or messages but not others.” Ward, 491

 U.S. at 791.

       Petitioners seek to assign a different motive to Congress based largely on

 scattered statements by individual legislators, which they attribute to concerns

 about the platform’s content rather than the actual concern about manipulation of

 the platform (including its content) by a foreign power. See TikTok Br. 19-21, 37-

 38; Firebaugh Br. 46-47. The Supreme Court “eschew[s]” this type of “guesswork”



                                            70
USCA Case #24-1113       Document #2066896            Filed: 07/26/2024    Page 86 of 115



 when judging the constitutionality of a federal statute precisely because “[w]hat

 motivates one legislator to make a speech about a statute is not necessarily what

 motivates scores of others to enact it.” O’Brien, 391 U.S. at 384. Petitioners’

 contentions underscore the hazards of asking a court “to void a statute that is,

 under well-settled criteria, constitutional on its face, on the basis of what fewer

 than a handful of Congressmen said about it.” Id.

       Moreover, in identifying some statements, petitioners fail to mention other

 probative legislative statements about the Act’s content-neutral justifications. To

 take a non-exhaustive sample, legislators stated that the Act protects against

 foreign adversaries amassing “vast amounts of personal data from Americans” that

 “can be used to control or influence each of us,” App.107; addresses the

 documented risk that content can “be covertly manipulated to serve the goals of an

 authoritarian regime,” App.118; and “safeguard[s] our democratic systems from

 covert foreign influence, both in its application to TikTok and . . . future online

 platforms,” App.121. More broadly, the consistent thread through discussion of the

 bill, reflected in the text of the enacted statute, see Act § 2(g)(3)(B) (defining

 covered applications based on whether they “present a significant threat to the

 national security of the United States”), was the national-security threat posed by a

 foreign adversary’s ability to engage in nefarious data collection and covert

 influence.



                                             71
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024    Page 87 of 115



       Petitioners’ claim that the Act draws an impermissible “speaker-based”

 distinction likewise fails. TikTok Br. 34-35; Firebaugh Br. 44. Again, the Act

 focuses on those applications whose foreign ownership and control raise national-

 security concerns, not on the identity of any speaker. And with respect to the Act’s

 provisions at issue here, the Chinese government, using an algorithm in its own

 territory and subject to its control, has no First Amendment right as a “speaker” to

 project its hostile efforts into the United States. Regardless, speaker-based

 distinctions have been deemed problematic only “when the legislature’s speaker

 preference reflects a content preference.” Reed, 576 U.S. at 170 (quotation

 omitted). As explained at length above, the Act is not “simply a means to control

 content,” which would call for heightened scrutiny. Citizens United v. FEC, 558

 U.S. 310, 340 (2010).

       2. Petitioners fare no better in suggesting that the statute is underinclusive.

 The “First Amendment imposes no freestanding ‘underinclusiveness limitation.’”

 Wagner v. FEC, 793 F.3d 1, 27 (D.C. Cir. 2015) (en banc) (quoting Williams-Yulee

 v. Florida Bar, 575 U.S. 433, 449 (2015)). Rather, “the primary purpose of

 underinclusiveness analysis is simply to ensure that the proffered state interest

 actually underlies the law” and to assess whether the law fails “to advance any

 genuinely substantial governmental interest” by “provid[ing] only ineffective or




                                            72
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024     Page 88 of 115



 remote support for the asserted goals.” National Ass’n of Mfrs. v. Taylor, 582 F.3d

 1, 17 (D.C. Cir. 2009) (quotations omitted).

       As discussed above, the Act’s application to TikTok has the purpose and

 effect of supporting Congress’s national-security goals, regardless of whether

 additional entities may be designated in the future. Thus, even if Congress had

 limited the legislation to TikTok alone, the legislation would not be underinclusive.

 Congress “need not address all aspects of a problem in one fell swoop;

 policymakers may focus on their most pressing concerns,” and such statutes are

 properly upheld “even under strict scrutiny.” Williams-Yulee, 575 U.S. at 449.

       Here, Congress had substantial information regarding the unique and serious

 threats posed by TikTok. See supra Part I. It thus sensibly addressed that pressing

 problem directly, while also empowering the Executive Branch to address similar

 threats in the future by authorizing the President to designate additional companies

 that “present a significant threat to the national security of the United States.” Act

 § 2(g)(3)(B). It is hard to see how such additional authority, regardless of its

 limitations, could render the statute underinclusive. And those provisions, too,

 focus on a particular type of threat to national security and not on content or

 viewpoint. For example, the Act applies to account-based applications with over

 1,000,000 monthly active users where users can both “generate or distribute

 content” of their own and “view content” made by others. Act § 2(g)(2)(A). The



                                            73
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024    Page 89 of 115



 potential for data collection and surreptitious content manipulation associated with

 such applications poses unique national-security risks that Congress was entitled to

 address, and Congress was under no obligation to simultaneously address smaller

 platforms or those that merely allow American users to view content and thus do

 not involve the same types of data or manipulable compilations of expression.

 Petitioners repeatedly ignore the ways in which “foreign ownership and control

 over [a social-media platform’s] content-moderation decisions,” NetChoice, 144 S.

 Ct. at 2410 (Barrett, J., concurring), can enable stealth campaigns to undercut U.S.

 national-security interests.

       In any event, Congress simultaneously addressed other data-collection

 concerns at the same time it enacted the Act. In the same legislation, Congress

 enacted the Protecting Americans’ Data from Foreign Adversaries Act, which

 prohibits “data broker[s]” from “mak[ing] available personally identifiable

 sensitive data of a United States individual” to foreign adversaries—including

 China—and any entity controlled by foreign adversaries. Pub. L. No. 118-50, div.

 I, § 2(a), 2(c)(3)-(5), 138 Stat. 960, 960-62 (2024). Nothing in Congress’s two-part

 approach suggests that its desire to combat national-security risks was insincere or

 ineffective.

       Nor are the Firebaugh petitioners correct in asserting that the statute is

 overbroad. Firebaugh Br. 60-62. The statute is not aimed at combatting some



                                            74
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024    Page 90 of 115



 specific expression on the platform, such that it could be overbroad as applied to

 other expression. Rather, the platform itself, as a whole and as currently operated,

 creates unacceptable national-security risk—at least so long as it remains subject to

 China’s control. No narrower statute would address that problem.

       3. The TikTok petitioners’ invocation of equal-protection principles, see

 TikTok Br. 39-40, adds nothing to the analysis. The Supreme Court and this Court

 have long recognized that the sorts of First Amendment and equal-protection

 claims raised here involve “closely related” standards where “the critical questions

 asked are the same”: whether the government action is appropriately tailored to

 serve a sufficiently strong interest. Community-Service Broad. of Mid-America,

 Inc. v. FEC, 593 F.2d 1102, 1122-23 (D.C. Cir. 1978) (en banc). The Act passes

 muster under that framework. See supra Part I.

       In any event, the TikTok petitioners have not shown that they are the subject

 of unconstitutionally differential treatment. The Act creates a designation process

 to identify applications operated by an entity subject to certain foreign ownership

 or direction that are “determined by the President to present a significant threat to

 the national security of the United States.” Act § 2(g)(3)(B). In the case of

 ByteDance and TikTok, Congress had a robust record to make the determination

 that those criteria were satisfied. See, e.g., App.7-12 (summarizing many

 congressional proceedings related to the threats TikTok poses); supra Part I. Thus,



                                            75
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024     Page 91 of 115



 the statute itself designates ByteDance and TikTok as covered companies subject

 to the Act’s prohibitions. Act § 2(g)(3)(A). ByteDance and TikTok in turn have

 exercised their right to bring a challenge to the Act. Act § 3.

       The TikTok petitioners have already received all the process, and more, that

 would be afforded to other potentially regulated entities. But see TikTok Br. 42-43.

 Under the Act, applications other than TikTok may be designated “following the

 issuance” of “a public notice” and “a public report to Congress . . . describing the

 specific national security concern involved and containing a classified annex and a

 description of what assets would need to be divested.” Act § 2(g)(3)(B)(ii). Over

 the last four years, the Executive Branch took formal action against TikTok twice,

 and there have been numerous public and classified hearings and briefings,

 extensive reports, and a comprehensive back-and-forth between TikTok and the

 Executive Branch about national-security concerns and possible ameliorative

 measures. See Newman Decl. ¶¶36-48 (summarizing negotiations over a proposed

 national security agreement). By its own account, TikTok has engaged in “multi-

 year efforts” to assuage the government’s concerns. TikTok Br. 2.

       4. For similar reasons, there is no merit to the TikTok petitioners’ suggestion

 that “[i]t is not yet apparent how the government will seek to defend the Act” and

 that the government’s national-security rationales constitute “post hoc

 justifications.” TikTok Br. 71. As noted, see supra p. 66, statutes need not be



                                            76
USCA Case #24-1113        Document #2066896            Filed: 07/26/2024    Page 92 of 115



 accompanied by an administrative record for judicial review. Regardless, the

 serious national-security concerns that Congress sought to address are plain from

 the public record and the course of dealing with the company. And the TikTok

 petitioners’ cursory suggestion that the government should be foreclosed from

 relying on classified material ignores binding precedent that “the court has inherent

 authority to review classified material ex parte, in camera as part of its judicial

 review function.” Jifry v. FAA, 370 F.3d 1174, 1182 (D.C. Cir. 2004). This Court

 has expressly rejected the argument that the petitioners could not “defend against

 the charge that they are security risks” without knowledge of specific classified

 information upon which the government relied. Id. at 1184.

       5. The Firebaugh petitioners make no headway in attempting to recast the

 Act as infringing the rights to associate and receive information. Firebaugh Br. 30-

 35. It is difficult to see how this case implicates associational rights at all. The

 paradigmatic cases involve laws that “directly interfere with an organization’s

 composition” or “ma[k]e group membership less attractive.” Rumsfeld v. Forum

 for Acad. & Institutional Rights, Inc., 547 U.S. 47, 69 (2006); see also Americans

 for Prosperity Found. v. Bonta, 594 U.S. 595, 606 (2021) (listing examples “where

 a group is required to take in members it does not want” and “where members of

 an organization are denied benefits based on the organization’s message”). Here,

 petitioners focus their arguments on the ability to “associate” with TikTok itself.



                                             77
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024    Page 93 of 115



 But those arguments do not—and cannot—establish that petitioners are part of a

 group whose “ability to express its message” is inhibited by the Act. Forum for

 Acad. & Institutional Rights, 547 U.S. at 69. Petitioners’ assertions (Firebaugh Br.

 30-33, 63; BASED Br. 4-9, 24-25) largely boil down to the notion that they “would

 prefer to affiliate” with TikTok as an editor and publisher, but they “cannot export

 their own First Amendment rights” in this way. Agency for Int’l Dev., 591 U.S. at

 437-38.

       As to the right to receive information, even for purposes of standing—much

 less a substantive First Amendment claim—the Supreme Court has recognized a

 “cognizable injury only where the listener has a concrete, specific connection to

 the speaker.” Murthy v. Missouri, 144 S. Ct. 1972, 1996 (2024). Petitioners’

 general desire to consume content on TikTok does not qualify.

       In addition, petitioners’ arguments in support of their asserted rights as

 listeners suffer from all the same flaws as their arguments in support of their rights

 as content creators. The statute has neither the purpose nor effect of preventing

 foreign entities from expressing certain views, which can be freely disseminated in

 any forum other than the platform that has given rise to national-security risks in

 light of its ownership. This case thus bears no resemblance to Lamont v.

 Postmaster General, 381 U.S. 301 (1965), where the Supreme Court invalidated a

 statute that restricted the delivery through the Postal Service of mail deemed



                                            78
USCA Case #24-1113       Document #2066896            Filed: 07/26/2024     Page 94 of 115



 “communist political propaganda,” id. at 302. Cf. Trump v. Hawaii, 585 U.S. 667,

 703 (2018) (noting that limitations on Americans’ “right to receive information”

 from foreign actors may be appropriate where “the Executive gave a facially

 legitimate and bona fide reason for its action” (quotations omitted)).

        6. The Firebaugh and BASED petitioners fundamentally misunderstand the

 relevant doctrine when they compare the Act to a prior restraint on speech on the

 ground that it “forbids communications before they occur, banning them as

 unlawful regardless of their content.” Firebaugh Br. 38; see also BASED Br. 15-

 17. On this theory, any time, place, and manner restriction would be a prior

 restraint to the extent that it categorically prohibited speech in a particular location.

 The fact that the Act does not depend on the content of speech is a constitutional

 virtue, not a vice. And the Act does not contemplate an injunction against speech

 like the provision invalidated in Near v. Minnesota ex rel. Olson, 283 U.S. 697

 (1931), but rather after-the-fact enforcement in the form of civil penalties or an

 injunction against the non-speech activities that the Act actually prohibits. See Act

 § 2(a), (d).

        Prior restraints are problematic because they raise the specter that officials

 will exercise “unconfined authority to pass judgment on the content of speech” as a

 means of stifling disfavored speech or speakers. Thomas v. Chicago Park Dist.,

 534 U.S. 316, 320 (2002). The Act presents no such concerns.



                                             79
USCA Case #24-1113       Document #2066896            Filed: 07/26/2024    Page 95 of 115



 III.     The TikTok Petitioners’ Fallback Constitutional Arguments Are
          Meritless

        A.    The Act Is Not a Bill of Attainder

        The Act is not an unconstitutional bill of attainder under Article I, Section 9

 of the Constitution for two independent reasons: the Act does not impose the sort

 of legislative punishment proscribed by the Bill of Attainder Clause, and the

 Clause does not apply to corporate entities like ByteDance and TikTok in any

 event. The Clause prohibits Congress from enacting laws “that legislatively

 determine[] guilt and inflict[] punishment upon an identifiable individual without

 provision of the protections of a judicial trial.” Nixon v. Administrator of Gen.

 Servs., 433 U.S. 425, 468 (1977).

        1. As the TikTok petitioners appear to acknowledge, TikTok Br. 62, it is not

 enough that the Act “refers to” ByteDance and TikTok “by name,” Nixon, 433 U.S.

 at 471-72. A law is not unconstitutional simply because it “burdens some persons

 or groups but not all other plausible individuals.” Id. at 471. Instead, the central

 task is to “distinguish permissible burdens from impermissible punishments.”

 Kaspersky Lab, Inc. v. U.S. Dep’t of Homeland Sec., 909 F.3d 446, 455 (D.C. Cir.

 2018).

        The “most important” consideration is “whether the statute, viewed in terms

 of the type and severity of burdens imposed, reasonably can be said to further

 nonpunitive legislative purposes.” Kaspersky Lab, 909 F.3d at 455 (quotations


                                             80
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024    Page 96 of 115



 omitted). Here, the nonpunitive interests supporting the Act are apparent: there are

 substantial national-security concerns with China’s ability to use TikTok to gain

 access to vast stores of U.S. user data and to engage in covert foreign influence.

       The Act’s scope further underscores its nonpunitive nature. The Act covers

 not only TikTok but also other foreign adversary controlled applications that are

 determined to “present a significant threat to the national security of the United

 States.” Act § 2(g)(3)(B). That the Executive Branch and Congress had a

 sufficiently robust record to make that evaluation at the time of enactment as to

 TikTok does not undermine the Act’s legitimate nonpunitive objectives. The

 TikTok petitioners repeatedly seek to draw an inapt comparison to a statute that

 “singl[ed] out [the appellant] as virtually the only [person] subject to the [law].”

 Foretich v. United States, 351 F.3d 1198, 1223 (D.C. Cir. 2003). By contrast, the

 Act is not so narrowly circumscribed as to target one entity or group with a burden

 “so disproportionate” as to suggest that the Act is “an end in and of itself” rather

 than “a means to an end.” Kaspersky Lab, 909 F.3d at 455.

       The TikTok petitioners’ “failure to raise a suspicion of punitiveness under

 the functional test” is virtually dispositive, but they also have not made “a

 persuasive showing” under either of the other tests for identifying bills of attainder.

 Kaspersky Lab, 909 F.3d at 460. The Act does not resemble the “ready checklist of

 deprivations and disabilities” that historically have been understood “to fall within



                                            81
USCA Case #24-1113       Document #2066896          Filed: 07/26/2024    Page 97 of 115



 the proscription,” such as a criminal sentence or the seizure of property. Nixon, 433

 U.S. at 473, 474 n.38; Kaspersky Lab, 909 F.3d at 460. Rather, the statute targets

 the precise harm Congress was concerned about—control by a foreign adversary—

 and permits TikTok to continue operating without penalty if Chinese control is

 removed. This Court has made clear that “the Bill of Attainder Clause tolerates

 statutes that” prevent regulated entities “from engaging in particular kinds of

 business or particular combinations of business endeavors.” Kaspersky Lab, 909

 F.3d at 463. The Act is precisely such a regulation aimed at addressing national-

 security concerns resulting from foreign ownership and control.

       Petitioners likewise have not identified “unmistakable evidence of punitive

 intent.” Foretich, 351 F.3d at 1225 (quotation omitted). As explained above,

 Congress overwhelmingly voted in favor of the Act based on specific data-

 collection and content-manipulation concerns. Any perceived difference in

 treatment between TikTok and other applications in the Act is not indicative of a

 congressional desire to punish but instead to address a substantiated potential threat

 that demands prompt attention.

       2. Regardless, the Clause does not apply to corporations as opposed to

 natural persons. Neither the Supreme Court nor this Court has applied the Clause

 in that context. See Kaspersky Lab, 909 F.3d at 454 (assuming without deciding

 the issue). The Supreme Court has made clear that the Clause concerns “legislative



                                            82
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024    Page 98 of 115



 interferences[] in cases affecting personal rights,” United States v. Brown, 381 U.S.

 437, 444 n.18 (1965) (quoting The Federalist, No. 44, at 351 (James Madison)

 (Hamilton ed. 1880)), and operates “only as [a] protection[] for individual persons

 and private groups,” South Carolina v. Katzenbach, 383 U.S. 301, 324 (1966).

       And historically, an attainder was understood as “the act of extinguishing a

 person’s civil rights when that person is sentenced to death or declared an outlaw

 for committing a felony or treason.” Attainder, Black’s Law Dictionary (12th ed.

 2024). In describing the “infamous history of bills of attainder” that led to the

 Clause’s adoption, the Supreme Court cited numerous historical examples of acts

 imposing punishments—including death, imprisonment, banishment, and

 confiscation of property—on natural persons. Nixon, 433 U.S. at 473-74 & nn.35-

 38; see also Brown, 381 U.S. at 441-42 & nn.10-12 (reciting other examples).

 Extending the Clause to allow large corporations to relieve themselves of

 regulatory burdens would not serve the animating purposes of protecting “those

 who are peculiarly vulnerable” from retribution for political beliefs. Katzenbach,

 383 U.S. at 324. That is especially so for a foreign-controlled corporation

 presenting a threat to national security by a foreign adversary.

       B.     The Act Does Not Effect a Taking

       The TikTok petitioners briefly argue (at 68-70) that the Act effects a taking.

 This cursory argument is meritless.



                                            83
USCA Case #24-1113         Document #2066896           Filed: 07/26/2024   Page 99 of 115



          As an initial matter, the TikTok petitioners properly neither contend that the

 Act effectuates a “physical appropriation[]” of property nor invoke the balancing

 test generally applied to claims that a regulation improperly “restrict[s] an owner’s

 ability to use his own property” in certain ways without compensation. Cedar

 Point Nursery v. Hassid, 594 U.S. 139, 147-48 (2021). Instead, they argue only

 that the Act is a per se taking because it deprives them of all economically

 beneficial use of their property. But there can be no serious dispute that TikTok US

 and ByteDance have assets that can be sold. Those assets include not only the

 billions of lines of code that underlie the TikTok application and the application’s

 value as an ongoing business even without access to features like the algorithm

 (captured in, for example, the application’s large established user base, its brand

 value, and its goodwill) but also all the additional property the companies may

 own. The TikTok petitioners have failed to substantiate their contention that these

 assets have no economic value independent of the algorithm. The declaration cited

 does not suggest otherwise, merely contending that the Act would prevent the

 mobile application from functioning in the United States. See App.824-27. Nor

 have petitioners adduced evidence of an unsuccessful effort to sell the platform for

 value.

          Even as to the application itself, the Act does not prohibit TikTok’s

 continued use but merely requires divestment from its China-based owner,



                                              84
USCA Case #24-1113      Document #2066896           Filed: 07/26/2024    Page 100 of 115



 ByteDance. The possibility that Chinese law, or other practical impediments, may

 require TikTok to alter its algorithm or otherwise modify the business when

 ByteDance divests in no way allows petitioners to demonstrate that their business

 has been entirely eliminated—much less that the Act caused such an elimination.

       The TikTok petitioners largely rely on cases in which the government

 restricted or eliminated the uses of tangible property—typically real property—in a

 way that could not be counteracted through sale or other measures. Even in that

 context, the requirement that the challenger demonstrate that all economic value be

 eliminated has been strictly observed. See Penn Cent. Transp. Co. v. City of New

 York, 438 U.S. 104, 125-28 (1978) (citing cases in which severe restrictions on the

 use of property were not held to be takings). As the Supreme Court has explained,

 “‘taking’ challenges have . . . been held to be without merit in a wide variety of

 situations when the challenged governmental actions prohibited a beneficial use to

 which individual parcels had previously been devoted and thus caused substantial

 individualized harm.” Id. at 125.

       The fact that this case involves not real property, or even personal property,

 but an intangible business even further weakens petitioners’ argument. The only

 case they cite involving a business, Kimball Laundry Co. v. United States, 338 U.S.

 1 (1949), involved a dispute about how to calculate the compensation when the

 government had appropriated a business for government use during a war. It



                                            85
USCA Case #24-1113      Document #2066896            Filed: 07/26/2024    Page 101 of 115



 provides no support for the proposition that regulations of businesses to support

 legitimate governmental objectives constitute a taking.

 IV.   Petitioners Are Not Entitled to an Injunction

       Because petitioners’ claims are meritless, no injunction is warranted. See

 Sherley v. Sebelius, 644 F.3d 388, 398 (D.C. Cir. 2011). Regardless, as amply

 demonstrated, see supra Part I, TikTok’s continued operation in the United States

 poses substantial harms to national security by virtue of TikTok’s data-collection

 practices and the intelligence and surveillance efforts of the Chinese government—

 harms that equally run against the public interest. Nken v. Holder, 556 U.S. 418,

 435 (2009). Congress determined that ByteDance’s ownership of TikTok poses an

 unacceptable risk to national security because that corporate relationship could

 permit the Chinese government to collect intelligence on and manipulate the

 content received by TikTok’s American users. That risk assessment is “entitled to

 deference,” Humanitarian Law Project, 561 U.S. at 33, and the Supreme Court has

 cautioned against “[j]udicial inquiry” into issues of national security that are the

 “constitutional responsibilit[y]” of the political branches, Trump, 585 U.S. at 704

 (first alteration in original) (quotation omitted). Thus, even assuming that

 petitioners had met their “high standard” for establishing irreparable injury,

 Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir.

 2006), the balance of the equities and the public interest would counsel against



                                            86
USCA Case #24-1113      Document #2066896           Filed: 07/26/2024    Page 102 of 115



 injunctive relief. Cf. eBay Inc. v. MercExchange, LLC, 547 U.S. 388, 391-94

 (2006).

       Nor should the Court entertain petitioners’ brief alternative suggestion that

 they are entitled to a preliminary injunction and unspecified “further proceedings”

 if “the Court were to find genuine issues of material fact that preclude judgment”

 on this record. TikTok Br. 72; see also Firebaugh Br. 66; BASED Br. 28-30.

 Having agreed to permit each side to present its factual submissions in connection

 with legal briefs, see Joint Mot. to Set Briefing and Oral Argument Schedule (May

 17, 2024), petitioners have no basis for requesting additional procedures. Much

 less can petitioners justify their suggestion that they receive the “extraordinary

 remedy” of a preliminary injunction in the meantime. Chaplaincy of Full Gospel

 Churches, 454 F.3d at 297 (quotation omitted).

       Finally, as petitioners implicitly concede, any relief must be narrowly

 circumscribed to apply only to the provisions of the Act that the Court finds

 unlawful. The Act itself contains an express severability clause, see Act § 2(e), and

 giving effect to that clause comports with the “normal rule” that courts must “limit

 the solution to the problem, severing any problematic portions while leaving the

 remainder intact.” Association of Am. R.Rs. v. U.S. Dep’t of Transp., 896 F.3d 539,

 549 (D.C. Cir. 2018) (quotations omitted). Thus, in particular, because petitioners

 challenge only the Act’s provisions that apply directly to ByteDance and TikTok,



                                            87
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024    Page 103 of 115



 any injunction must be limited to those provisions and, in particular, should not

 enjoin the enforcement of the Act’s separate pathway for Executive designation.

 Nevertheless, the government agrees with the TikTok petitioners’ contention (at

 72) that Section 2(b) should not take effect if the Attorney General is enjoined

 from enforcing Section 2(a) as applied to TikTok and ByteDance. Petitioners’

 rationale that the provision is non-severable is incorrect, see Act § 2(e), but by its

 terms, Section 2(b) does not take effect until “subsection (a) applies to a foreign

 adversary controlled application,” Act § 2(b). That would not occur if enforcement

 of subsection (a) were enjoined as applied to TikTok.

                                     CONCLUSION

       For the foregoing reasons, the petitions for review should be denied.




                                             88
USCA Case #24-1113     Document #2066896            Filed: 07/26/2024   Page 104 of 115



                                                 Respectfully submitted,

  TRICIA WELLMAN                                  BRIAN M. BOYNTON
    Acting General Counsel                        Principal Deputy Assistant Attorney
  JAMES R. POWERS                                   General
    Chief, Litigation                             BRIAN D. NETTER
  JENNIFER M. PIKE                                Deputy Assistant Attorney General
    Associate General Counsel
    Office of the Director of National            MARK R. FREEMAN
      Intelligence                                SHARON SWINGLE
                                                  DANIEL TENNY
  DIANE KELLEHER                                  CASEN B. ROSS
  BONNIE E. DEVANY
  SIMON G. JEROME                                  /s/ Sean R. Janda
    Attorneys, Federal Programs Branch            SEAN R. JANDA
    Civil Division                                BRIAN J. SPRINGER
    U.S. Department of Justice                    Attorneys, Appellate Staff
                                                  Civil Division, Room 7260
  MATTHEW G. OLSEN                                U.S. Department of Justice
   Assistant Attorney General for                 950 Pennsylvania Avenue NW
       National Security                          Washington, DC 20530
  DEVIN A. DEBACKER                               (202) 514-3388
    Chief, Foreign Investment Review              sean.r.janda@usdoj.gov
       Section
  ERIC S. JOHNSON                               BRADLEY BOOKER
    Principal Deputy Chief, Foreign              General Counsel
       Investment Review Section                KELLY SMITH
  TYLER J. WOOD                                   Section Chief
    Deputy Chief, Foreign Investment            NADIN LINTHORST
       Review Section                             Assistant General Counsel
  EVAN SILLS                                    TUCKER MCNULTY
    Attorney-Advisor, Foreign Investment          Assistant General Counsel
       Review Section                           ANN OAKES
   National Security Division                    Assistant General Counsel
   U.S. Department of Justice                    Federal Bureau of Investigation

   July 2024




                                           89
USCA Case #24-1113     Document #2066896            Filed: 07/26/2024   Page 105 of 115



                        CERTIFICATE OF COMPLIANCE

       This brief complies with the type-volume limit of this Court’s order of May

 28, 2024 because it contains 19,397 words. This brief also complies with the

 typeface and type-style requirements of Federal Rule of Appellate Procedure

 32(a)(5)-(6) because it was prepared using Word for Microsoft 365 in Calisto MT

 14-point font, a proportionally spaced typeface.



                                                  /s/ Sean R. Janda
                                              Sean R. Janda
USCA Case #24-1113       Document #2066896           Filed: 07/26/2024    Page 106 of 115



                             CERTIFICATE OF SERVICE

       I hereby certify that on July 26, 2024, I filed the unredacted, classified

 version of this brief by causing an original and three copies to be lodged with the

 Department of Justice Classified Information Security Officer. I further certify that

 on July 26, 2024, I electronically filed the public, unclassified version of this brief

 with the Clerk of the Court for the United States Court of Appeals for the District

 of Columbia Circuit by using the appellate CM/ECF system. Service on all parties

 will be accomplished by the appellate CM/ECF system.



                                                    /s/ Sean R. Janda
                                                Sean R. Janda
USCA Case #24-1113   Document #2066896   Filed: 07/26/2024   Page 107 of 115




                                ADDENDUM
USCA Case #24-1113              Document #2066896                   Filed: 07/26/2024           Page 108 of 115



                                         TABLE OF CONTENTS

 Protecting Americans from Foreign Adversary Controlled Applications Act,
       Pub. L. No. 118-50, div. H (2024)
       Section 1 – Short Title ..................................................................................A1
       Section 2 – Prohibition of Foreign Adversary Controlled Applications. .....A1
       Section 3 – Judicial Review .........................................................................A7
USCA Case #24-1113     Document #2066896            Filed: 07/26/2024    Page 109 of 115



   Protecting Americans from Foreign Adversary Controlled Applications
 Act, Pub. L. No. 118-50, div. H (2024)
   § 1. SHORT TITLE.
   This division may be cited as the “Protecting Americans from Foreign
 Adversary Controlled Applications Act”.


   § 2. PROHIBITION OF FOREIGN ADVERSARY CONTROLLED
 APPLICATIONS.
   (a) IN GENERAL.—
       (1) PROHIBITION OF FOREIGN ADVERSARY CONTROLLED
     APPLICATIONS.—It shall be unlawful for an entity to distribute, maintain, or
     update (or enable the distribution, maintenance, or updating of) a foreign
     adversary controlled application by carrying out, within the land or maritime
     borders of the United States, any of the following:
          (A) Providing services to distribute, maintain, or update such foreign
       adversary controlled application (including any source code of such
       application) by means of a marketplace (including an online mobile
       application store) through which users within the land or maritime borders of
       the United States may access, maintain, or update such application.
          (B) Providing internet hosting services to enable the distribution,
       maintenance, or updating of such foreign adversary controlled application
       for users within the land or maritime borders of the United States.
     (2) APPLICABILITY.—Subject to paragraph (3), this subsection shall apply—
         (A) in the case of an application that satisfies the definition of a foreign
       adversary controlled application pursuant to subsection (g)(3)(A), beginning
       on the date that is 270 days after the date of the enactment of this division;
       and
         (B) in the case of an application that satisfies the definition of a foreign
       adversary controlled application pursuant to subsection (g)(3)(B), beginning
       on the date that is 270 days after the date of the relevant determination of the
       President under such subsection.




                                           A1
USCA Case #24-1113      Document #2066896           Filed: 07/26/2024   Page 110 of 115



       (3) EXTENSION.—With respect to a foreign adversary controlled
     application, the President may grant a 1-time extension of not more than 90
     days with respect to the date on which this subsection would otherwise apply to
     such application pursuant to paragraph (2), if the President certifies to
     Congress that—
          (A) a path to executing a qualified divestiture has been identified with
       respect to such application;
          (B) evidence of significant progress toward executing such qualified
       divestiture has been produced with respect to such application; and
         (C) there are in place the relevant binding legal agreements to enable
       execution of such qualified divestiture during the period of such extension.
   (b) DATA AND INFORMATION PORTABILITY TO ALTERNATIVE
 APPLICATIONS.—Before the date on which a prohibition under subsection (a)
 applies to a foreign adversary controlled application, the entity that owns or
 controls such application shall provide, upon request by a user of such application
 within the land or maritime borders of United States, to such user all the available
 data related to the account of such user with respect to such application. Such data
 shall be provided in a machine readable format and shall include any data
 maintained by such application with respect to the account of such user, including
 content (including posts, photos, and videos) and all other account information.
   (c) EXEMPTIONS.—
     (1) EXEMPTIONS FOR QUALIFIED DIVESTITURES.—Subsection (a)—
          (A) does not apply to a foreign adversary controlled application with
       respect to which a qualified divestiture is executed before the date on which
       a prohibition under subsection (a) would begin to apply to such application;
       and
         (B) shall cease to apply in the case of a foreign adversary controlled
       application with respect to which a qualified divestiture is executed after the
       date on which a prohibition under subsection (a) applies to such application.
        (2) EXEMPTIONS FOR CERTAIN NECESSARY SERVICES.—
     Subsections (a) and (b) do not apply to services provided with respect to a
     foreign adversary controlled application that are necessary for an entity to
     attain compliance with such subsections.




                                           A2
USCA Case #24-1113      Document #2066896           Filed: 07/26/2024    Page 111 of 115



   (d) ENFORCEMENT.—
     (1) CIVIL PENALTIES.—
         (A) FOREIGN ADVERSARY CONTROLLED APPLICATION
       VIOLATIONS.—An entity that violates subsection (a) shall be subject to
       pay a civil penalty in an amount not to exceed the amount that results from
       multiplying $5,000 by the number of users within the land or maritime
       borders of the United States determined to have accessed, maintained, or
       updated a foreign adversary controlled application as a result of such
       violation.
          (B) DATA AND INFORMATION VIOLATIONS.—An entity that
       violates subsection (b) shall be subject to pay a civil penalty in an amount
       not to exceed the amount that results from multiplying $500 by the number
       of users within the land or maritime borders of the United States affected by
       such violation.
     (2) ACTIONS BY ATTORNEY GENERAL.—The Attorney General—
          (A) shall conduct investigations related to potential violations of
       subsection (a) or (b), and, if such an investigation results in a determination
       that a violation has occurred, the Attorney General shall pursue enforcement
       under paragraph (1); and
         (B) may bring an action in an appropriate district court of the United
       States for appropriate relief, including civil penalties under paragraph (1) or
       declaratory and injunctive relief.
   (e) SEVERABILITY.—
        (1) IN GENERAL.—If any provision of this section or the application of
     this section to any person or circumstance is held invalid, the invalidity shall
     not affect the other provisions or applications of this section that can be given
     effect without the invalid provision or application.
        (2) SUBSEQUENT DETERMINATIONS.—If the application of any
     provision of this section is held invalid with respect to a foreign adversary
     controlled application that satisfies the definition of such term pursuant to
     subsection (g)(3)(A), such invalidity shall not affect or preclude the application
     of the same provision of this section to such foreign adversary controlled
     application by means of a subsequent determination pursuant to subsection
     (g)(3)(B).




                                            A3
USCA Case #24-1113      Document #2066896           Filed: 07/26/2024    Page 112 of 115



   (f ) RULE OF CONSTRUCTION.—Nothing in this division may be
 construed—
       (1) to authorize the Attorney General to pursue enforcement, under this
     section, other than enforcement of subsection (a) or (b);
       (2) to authorize the Attorney General to pursue enforcement, under this
     section, against an individual user of a foreign adversary controlled
     application; or
       (3) except as expressly provided herein, to alter or affect any other authority
     provided by or established under another provision of Federal law.
   (g) DEFINITIONS.—In this section:
        (1) CONTROLLED BY A FOREIGN ADVERSARY.—The term
     “controlled by a foreign adversary” means, with respect to a covered company
     or other entity, that such company or other entity is—
          (A) a foreign person that is domiciled in, is headquartered in, has its
       principal place of business in, or is organized under the laws of a foreign
       adversary country;
          (B) an entity with respect to which a foreign person or combination of
       foreign persons described in subparagraph (A) directly or indirectly own at
       least a 20 percent stake; or
         (C) a person subject to the direction or control of a foreign person or
       entity described in subparagraph (A) or (B).
     (2) COVERED COMPANY.—
          (A) IN GENERAL.—The term “covered company” means an entity that
       operates, directly or indirectly (including through a parent company,
       subsidiary, or affiliate), a website, desktop application, mobile application,
       or augmented or immersive technology application that—
           (i) permits a user to create an account or profile to generate, share, and
        view text, images, videos, real-time communications, or similar content;
           (ii) has more than 1,000,000 monthly active users with respect to at least
        2 of the 3 months preceding the date on which a relevant determination of
        the President is made pursuant to paragraph (3)(B);
           (iii) enables 1 or more users to generate or distribute content that can be
        viewed by other users of the website, desktop application, mobile
        application, or augmented or immersive technology application; and


                                           A4
USCA Case #24-1113      Document #2066896            Filed: 07/26/2024     Page 113 of 115



           (iv) enables 1 or more users to view content generated by other users of
        the website, desktop application, mobile application, or augmented or
        immersive technology application.
          (B) EXCLUSION.—The term “covered company” does not include an
       entity that operates a website, desktop application, mobile application, or
       augmented or immersive technology application whose primary purpose is
       to allow users to post product reviews, business reviews, or travel
       information and reviews.
        (3) FOREIGN ADVERSARY CONTROLLED APPLICATION.—The term
     “foreign adversary controlled application” means a website, desktop
     application, mobile application, or augmented or immersive technology
     application that is operated, directly or indirectly (including through a parent
     company, subsidiary, or affiliate), by—
     (A) any of—
        (i) ByteDance, Ltd.;
        (ii) TikTok;
           (iii) a subsidiary of or a successor to an entity identified in clause (i) or
        (ii) that is controlled by a foreign adversary; or
           (iv) an entity owned or controlled, directly or indirectly, by an entity
        identified in clause (i), (ii), or (iii); or
     (B) a covered company that—
        (i) is controlled by a foreign adversary; and
           (ii) that is determined by the President to present a significant threat to
        the national security of the United States following the issuance of—
            (I) a public notice proposing such determination; and
              (II) a public report to Congress, submitted not less than 30 days
            before such determination, describing the specific national security
            concern involved and containing a classified annex and a description of
            what assets would need to be divested to execute a qualified divestiture.
       (4) FOREIGN ADVERSARY COUNTRY.—The term “foreign adversary
     country” means a country specified in section 4872(d)(2) of title 10, United
     States Code.




                                            A5
USCA Case #24-1113     Document #2066896           Filed: 07/26/2024   Page 114 of 115



        (5) INTERNET HOSTING SERVICE.—The term “internet hosting service”
     means a service through which storage and computing resources are provided
     to an individual or organization for the accommodation and maintenance of 1
     or more websites or online services, and which may include file hosting,
     domain name server hosting, cloud hosting, and virtual private server hosting.
        (6) QUALIFIED DIVESTITURE.—The term “qualified divestiture” means
     a divestiture or similar transaction that—
          (A) the President determines, through an interagency process, would
       result in the relevant foreign adversary controlled application no longer
       being controlled by a foreign adversary; and
          (B) the President determines, through an interagency process, precludes
       the establishment or maintenance of any operational relationship between
       the United States operations of the relevant foreign adversary controlled
       application and any formerly affiliated entities that are controlled by a
       foreign adversary, including any cooperation with respect to the operation of
       a content recommendation algorithm or an agreement with respect to data
       sharing.
        (7) SOURCE CODE.—The term “source code” means the combination of
     text and other characters comprising the content, both viewable and
     nonviewable, of a software application, including any publishing language,
     programming language, protocol, or functional content, as well as any
     successor languages or protocols.
        (8) UNITED STATES.—The term “United States” includes the territories of
     the United States.




                                          A6
USCA Case #24-1113      Document #2066896            Filed: 07/26/2024    Page 115 of 115



   § 3. JUDICIAL REVIEW.
   (a) RIGHT OF ACTION.—A petition for review challenging this division or
 any action, finding, or determination under this division may be filed only in the
 United States Court of Appeals for the District of Columbia Circuit.
    (b) EXCLUSIVE JURISDICTION.—The United States Court of Appeals for
 the District of Columbia Circuit shall have exclusive jurisdiction over any
 challenge to this division or any action, finding, or determination under this
 division.
   (c) STATUTE OF LIMITATIONS.—A challenge may only be brought—
       (1) in the case of a challenge to this division, not later than 165 days after the
     date of the enactment of this division; and
        (2) in the case of a challenge to any action, finding, or determination under
     this division, not later than 90 days after the date of such action, finding, or
     determination.




                                            A7
